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                                                                          Page 1
                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT BOWLING GREEN
                          CIVIL ACTION NO. 1:19-CV-00027-HBB


            MERCEDES GONZALEZ                                         PLAINTIFF
            vs.
            POINT LOGISTICS, INC. and
            PATRICK JEAN-LOUIS                                       DEFENDANTS




                                       DEPOSITION OF
                                        JOEY STIDHAM


                       Tuesday, December 15, 2020 at 2:02 p.m.
                       All appearances were via teleconference




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                                                                          Page 2
       1                           A P P E A R A N C E S
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       7
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     25
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       2            Susan Toby
       3
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     17
     18                                  L E G E N D
     19     dashes [--]              intentional interruption
     20     ellipsis     [...]       halting speech, omission of words
     21     [ph]                     denotes phonetically written
     22     [sic]                    written as said
     23     uh-huh                   affirmative response
     24     unh-unh                  negative response
     25
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                                                                          Page 4
       1                          P R O C E E D I N G S

       2                It is hereby agreed by and between counsel for

       3          the respective parties that the reading and signing

       4          of the deposition transcript shall be waived.

       5                All appearances were via teleconference due to

       6          COVID-19 restrictions.

       7                Whereupon, JOEY STIDHAM, having been first

       8          duly sworn and cautioned to speak the truth,

       9          testified as follows:

     10                             DIRECT EXAMINATION

     11     BY ATTORNEY HICKEY:

     12     Q     Can you state your full name, please?

     13     A     Joseph Edward Stidham.

     14     Q     Mr. Stidham, you brought with you today your file

     15           materials for the case Gonzalez versus Point

     16           Logistics, et al?

     17     A     I do have it with me, yes.

     18     Q     Does that file contain all of the documents that

     19           you've considered in relation to this case?

     20     A     It does.

     21     Q     Would you be willing to furnish the complete copy

     22           of that file to the court reporter as an exhibit to

     23           your deposition?

     24     A     Sure.   How would you request that I do that

     25           exactly?    I load it to Dropbox and share it?           How
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                                                                          Page 5
       1          would you like that done?

       2                 ATTORNEY HICKEY:     Ms. Court Reporter, what's

       3          the easiest way to get that done?

       4                 COURT REPORTER:     Dropbox is fine, emailing,

       5          however.    I can give you the information after the

       6          deposition.

       7                 WITNESS:   I can tell you without question,

       8          emailing won't work --

       9                 COURT REPORTER:     We'll just do Dropbox, that's

     10           fine.

     11                  ATTORNEY HICKEY:     We'll call that Exhibit 1.

     12     Q     It's my understanding that you've been retained as

     13           an expert witness in the case of Mercedes Gonzalez

     14           versus Point Logistics, Patrick Jean-Louis and

     15           Motorists Mutual Insurance; is that correct?

     16     A     I believe that would be correct.

     17     Q     In what area of expertise do you retain?

     18     A     Trained collision reconstruction, as a truck and

     19           safety analyst and an analyst to look at the GPS

     20           data that was provided by KeepTruckin and by

     21           Verizon Connect.

     22     Q     Have you been retained in other personal injury or

     23           wrongful death cases as an expert witness?

     24     A     Yes.

     25     Q     How many times?
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                                                                          Page 6
       1    A     I have no idea.      Thousands.     I've been doing this

       2          for 22 years.

       3    Q     Have you testified in court as an expert witness

       4          before?

       5    A     We both know that.       Yes.

       6    Q     I may ask you some questions that we both know the

       7          answer to but we need to get it under oath, on the

       8          record.    How many times have you testified in court

       9          as an expert on?

     10     A     I'll have to go back and count.          It's on my CV.

     11     Q     Every case you've ever testified is listed on your

     12           CV?

     13     A     No.    There are hundreds of cases that I testified

     14           as a Kentucky State Trooper that aren't listed.

     15           Ones that I've testified as a traffic collision

     16           reconstructionist to the best of my ability are on

     17           there.

     18     Q     Do you remember the first time you testified in

     19           court?

     20     A     Sure do.

     21     Q     When and where was that?

     22     A     Pike District Court, 1991, Kent Carter was the

     23           judge, Howard Keith Hall was the county attorney.

     24           I remember that I was asked questions -- the very

     25           first question I was asked was nothing to do with
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                                                                          Page 7
       1          the case.

       2    Q     Do you remember when and where you testified most

       3          recently, the last time before today?

       4    A     In a trial or in a deposition?

       5    Q     Either one.     Let's start with a deposition.

       6    A     Deposition was last week in Bowling Green,

       7          Kentucky.

       8    Q     And trial?

       9    A     Last trial I had would probably have been with you

     10           in Louisville in the US District Court.

     11     Q     Would that be in 2019?

     12     A     I think so.

     13     Q     Has any court ever ruled any part of your testimony

     14           inadmissible?

     15     A     There have been several times that I've had pieces

     16           of my testimony -- I've not been allowed to testify

     17           to, because the judge had previously -- or after I

     18           wrote the opinions, had stricken part of the

     19           evidence that I had relied on.         Something that had

     20           been obtained wrongfully or the judge's rule was

     21           inadmissible and I had relied upon it.           Other than

     22           that, I'm not aware of any.

     23     Q     Has any judge ever ruled that you were not an

     24           expert in a field that you had written an opinion

     25           on?
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                                                                          Page 8
       1    A     To my knowledge, no.

       2    Q     Do you know about how many cases you've testified

       3          that involved tractor trailers?

       4    A     No, sir.    Not without going through and looking.

       5    Q     On the basis in which you've been retained, what

       6          percentage were you retained by the plaintiff side?

       7          Civil cases.

       8    A     It's typically about a 60/40 split now.

       9    Q     When you say now, what time period does that

     10           include?

     11     A     Over the last couple years, before that, I would

     12           say it was 50/50 and then before that, it was

     13           90/10, plaintiff versus defense.

     14     Q     Have you ever been retained by Mr. Scott or a

     15           member of his firm before?

     16     A     Yes.

     17     Q     How many times by Mr. Scott?

     18     A     Maybe three or four times specifically by Mr.

     19           Scott.    This would have been the first case Mr.

     20           Scott retained me on.

     21     Q     What about his firm?       About how many times have you

     22           been?

     23     A     I don't know.

     24     Q     A lot?

     25     A     Yes.
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                                                                          Page 9
       1    Q     Have you reviewed any documents that pertain to

       2          this case in the past seven days?

       3    A     Yes, sir.

       4    Q     Generally, what have you reviewed?

       5    A     I've reviewed everything in my file.

       6    Q     Anything else?

       7    A     Yes.   The appendix to part 395 of the Federal Motor

       8          Carrier Safety Regulations.         We had about a two-

       9          hour conversation with KeepTruckin on the validity

     10           and reliability of their system.          I've actually

     11           ordered a KeepTruckin system for my trucking

     12           company to test.      The deposition of Daniela -- just

     13           a second, let me look -- Haisan, the deposition of

     14           Jean-Louis -- Patrick Jean-Louis.          I think that's

     15           it, in addition to -- oh, EOD, the rules on

     16           electronic devices, it's in part 395 of the Federal

     17           Motor Carrier Safety Regulations.

     18     Q     When did you review those materials?

     19     A     Started last Friday with a phone call with the Demo

     20           and a phone call with KeepTruckin.          I -- then --

     21           over the weekend.      And finished -- I actually

     22           finished a couple hours ago.

     23     Q     Who provided you with the material?

     24     A     No one.     The depositions were provided by Mr. Scott

     25           but everything else was things I gathered.
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                                                                          Page 10
       1    Q     I'm sorry, everything else was . . .

       2    A     Things that we gathered within the office.

       3    Q     How had you gathered them?

       4    A     Either by the internet or actually talking with the

       5          folks from KeepTruckin.

       6    Q     Who did you speak to at KeepTruckin?

       7    A     I don't know his name.        We recorded -- we recorded

       8          the demonstration, it's an hour and 13 minutes

       9          long.

      10    Q     Is that recorded conversation part of your file

      11          material?

      12    A     It will be, yes.

      13    Q     And you will produce that as part of Exhibit 1.

      14    A     Yes.

      15    Q     Have you ever held a teaching position?

      16    A     No.

      17    Q     Have you ever been arrested or charged or convicted

      18          of any crime?

      19    A     I have never been arrested.         I was charged with a

      20          crime that was later expunged from my record.              And

      21          the person that got the criminal summons on me

      22          stated he realized that I did not do what he asked

      23          me to do.

      24    Q     What was the charge?

      25    A     Harassment.
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                                                                          Page 11
       1    Q     About when was that?

       2    A     '99 or 2000, somewhere in there.

       3    Q     Have you ever been a party to a civil lawsuit,

       4          either as a plaintiff or defendant?

       5    A     Yes.

       6    Q     How many times?

       7    A     Once that I'm aware of, that I can recall.

       8    Q     What was the nature of that case?

       9    A     I sued the Leslie County Water District for

      10          flooding my office.       Wait, I apologize Mr. Hickey,

      11          I was actually sued when I was a trooper, I forgot

      12          that -- forgot about it.         For a traffic collision.

      13    Q     When was the suit against the Leslie County Water

      14          District?

      15    A     Two years maybe three years ago.

      16    Q     And when was the lawsuit when you were sued as a

      17          trooper?

      18    A     That's stemmed from -- would have been pre-'95,

      19          could have been pre-'96.         I don't remember the

      20          date.    I left Pike County, Kentucky September of

      21          1995, so it would have been prior to -- I'm sorry,

      22          September '93, so it would have been prior to that.

      23    Q     The attorney who retained you in this case provided

      24          me with some disclosures, including your CV.             Did

      25          you produce that to him?
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                                                                          Page 12
       1    A     I did.    I don't know that he's given you the most

       2          up to date one but I did produce a CV to him.

       3                ATTORNEY HICKEY:       Ms. Court Reporter, is that

       4          something you can put on the screen?

       5    Q     Mr. Stidham, if you can look at this and let us

       6          know if that's the most up to date copy of your CV.

       7          You can flip through the pages as necessary.

       8                COURT REPORTER:       Hold on.    Magna is supposed

       9          to be doing that.       Just a second.

      10    Q     Just to save time, is that something you could

      11          produce to the court reporter with your Dropbox

      12          production?

      13    A     Yeah, I always do.       Yes, sir.

      14                ATTORNEY HICKEY:       Let's just call that Exhibit

      15          2, then, the copy that he's going to produce.

      16                (WHEREUPON, EXHIBIT 2, CURRICULM VITAE,

      17                CONSISTING OF 33 PAGES, WAS MARKED FOR

      18                IDENTIFICATION.)

      19    Q     Has it changed much?        The one that I have is 32

      20          pages long; does that sound about right?

      21    A     I think that's about correct.

      22    Q     Has it changed much in the last year or so?

      23    A     I reorganized it.       Yes, it has.     Since -- in the

      24          last few months, I've got my CDL and I watched a

      25          month-long drivers training for that, that's on the
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                                                                          Page 13
       1          new CV.    There's a few more drivers' classes that

       2          are on there, other than that, that's about it.

       3          And as I say, I've reorganized it so it makes

       4          things easier to see.

       5    Q     Can you describe your formal education as it

       6          applies to accident reconstruction?

       7    A     I have an associates degree from Hazard Community

       8          and Technical College.        I have a bachelor's in

       9          science degree from Hazard Community and Technical

      10          College.      Within those two degrees, I've had a

      11          course on investigations, a course on interviewing,

      12          a course on forensics, several math courses, a

      13          physics course.      Within my formal education, that

      14          would be the courses that are most relevant.             And I

      15          also had three or four psychology courses.

      16    Q     It's my understanding you first took a course in

      17          accident reconstruction while you were a state

      18          trooper in about 1996.

      19    A     The course was in '95, I finished in '96 and I

      20          would say I finished the first three core classes

      21          on reconstruction in '96 and I'm still going

      22          through training today.

      23    Q     And in 1998 you left the state police and went into

      24          business for yourself, correct?

      25    A     That is correct.
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                                                                          Page 14
       1    Q     And you formed a limited liability company called

       2          Stidham Reconstruction and Investigation; is that

       3          right?

       4    A     That is correct.

       5    Q     Why did you do that?        Why did you form a company?

       6    A     Actually, I was marred to an attorney at the time

       7          and she told me I had to.

       8    Q     Can't say no to that.

       9    A     Huh?

      10    Q     Can't say no to that.        Boss speaks, you do.       Since

      11          1998, according to your CV, you have reconstructed

      12          more than 2,000 motor vehicle accidents.

      13    A     Yes.

      14    Q     That's almost 100 accident reconstruction projects

      15          per year on average; does that sound right?

      16    A     That's low but yes, that's -- it would be a low-end

      17          estimate.

      18    Q     It could be more than that?

      19    A     Yes.

      20    Q     So it's about one new accident reconstruction

      21          project every four days?

      22    A     That's a low number.

      23    Q     You think it's more than that?

      24    A     I know it's more than that.

      25    Q     How many accident reconstruction projects did you
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                                                                          Page 15
       1          have in 2019?

       2    A     I don't know the exact number.

       3    Q     Do you know the approximate number?

       4    A     I don't.

       5    Q     How many accident reconstruction projects did you

       6          have in 2020?

       7    A     I don't know the exact number.

       8    Q     Have you turned down any requests to do accident

       9          reconstruction projects in 2020?

      10    A     Yes.

      11    Q     How many?

      12    A     I don't know how many.        I turned down one last

      13          week.

      14    Q     Why?

      15    A     That's -- I did not like the politics behind the

      16          case.

      17    Q     Have you ever authored any publications in the

      18          field of accident reconstruction?

      19    A     I offered a publication for the Department of

      20          Public Advocacy, I think it was in 2000 or 2001.

      21          It was basically a handbook about what evidence to

      22          look for in the field and how to document it,

      23          collect it, start from the field to the court room.

      24          Other than that, that's it, other than the

      25          PowerPoints that I've given at seminars.
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                                                                          Page 16
       1    Q     Did the 2000/2001 handbook have anything to do with

       2          accident reconstruction?

       3    A     It was all about -- it was totally about traffic

       4          collisions, that's all it was.

       5    Q     It was for the Department of Public Advocacy,

       6          right?

       7    A     Yes.

       8    Q     Are you a registered professional engineer?

       9    A     I am not.

      10    Q     Do you have a degree in engineering?

      11    A     I do not.

      12    Q     Do you have a degree in medicine?

      13    A     I do not.

      14    Q     Do you have a degree in material science?

      15    A     I do not.

      16    Q     Are you trained as an ophthalmologist or

      17          optometrist?

      18    A     I am not.

      19    Q     Do you hold a commercial driver's license?

      20    A     Yes.

      21    Q     When did you first obtain your CDL?

      22    A     In April of this year.

      23    Q     Why did you get a CDL?

      24    A     Wait just a second, Mr. Hickey, I think I gave you

      25          the wrong date.
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                                                                          Page 17
       1    Q     That's fine.

       2    A     I'll have to look at my CV.         It was about three

       3          months ago -- three to four months ago whenever I

       4          got my CDL.

       5    Q     Fall 2020 sound about right?

       6    A     Yes.

       7    Q     Why did you get a CDL?

       8    A     One, I own a trucking company.          Two, it goes hand

       9          in hand with what I do and I've been asked several

      10          times about that -- about having a CDL.            And three,

      11          I've got a couple friends that are asking me to go

      12          into the trucking business with them and I'm

      13          helping them with the regs and then with their

      14          administration of it.

      15    Q     Have you ever worked as a professional truck

      16          driver?

      17    A     Define that because for the past three and a half

      18          years, I've been driving commercial truck for SRI.

      19    Q     Do you haul freight for anyone other than yourself?

      20    A     I have not.

      21    Q     Have you hauled freight of any kind?

      22    A     Just the equipment that SRI has.

      23    Q     And the truck that you drive for SRI, what kind of

      24          truck is it?

      25    A     It's a Ford F-150.
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                                                                          Page 18
       1    Q      Have you ever worked as a heavy truck mechanic?
       2    A      No, sir.
       3    Q      Have you ever conducted or participated in crash
       4           testing of commercial vehicles?
       5    A      Yes.
       6    Q      When was that?
       7    A      Several times at IPTM when I was there and going
       8           through training and seminars that I've been to.
       9    Q      About what years were those?
      10    A      That's all in my CV dates.
      11    Q      Have you ever conducted or participated in
      12           acceleration testing of commercial vehicles?
      13    A      Yes.
      14    Q      When was that?
      15    A      Again, it's on my CV.        The first three commercial
      16           motor vehicle courses that I had at IPTM, we did
      17           acceleration and braking testing in all of them.
      18    Q      What was the process?        How did you find the --
      19    A      The first one was --
      20    Q      -- acceleration of commercial vehicles?
      21    A      The first course I had was in '96, it was while I
      22           was a state trooper.        The Institute of Police
      23           Technology and Management came to Richmond,
      24           Kentucky to put on the course.          There was police
      25           officers from all over the state there.             They
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                                                                          Page 19
       1          actually had a tractor-trailer we took to the

       2          Lexington airport.       We did -- we did a mechanical

       3          inspection on it and then we did acceleration and

       4          braking testing on it there.         The other two courses

       5          I went to Jacksonville, Florida, I think, it was in

       6          2005, it's in my CV.        And they took -- they had --

       7          they rented trucks, they had two trucks, two

       8          different ones, one each course.          They took those

       9          out to the, I think it was the Navy -- either Navy

      10          -- it was either an abandoned Navy base or Air

      11          Force base and had a huge runway, we tested them

      12          there.    And the last time that I did testing with a

      13          commercial motor vehicle was ECM course that we

      14          had, it was in Florida but it wasn't Jacksonville,

      15          it was supposed to be somewhere else and we did

      16          acceleration and braking testing there as we were

      17          downloading ECMs in the truck to see how it

      18          affected the data.

      19    Q     And when was that last course?

      20    A     Let me pull my CV up and I'll tell you.            Would have

      21          been in 2016, February 15 through the 18th.

      22    Q     Have you ever marketed your services as an expert

      23          witness or a consultant?

      24    A     We have a website and we do Facebook but that's it.

      25    Q     Are you listed with any expert witness referral
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                                                                          Page 20
       1          services?

       2    A     No, sir.     Not that I'm aware of.

       3    Q     What do you charge to do an accident reconstruction

       4          consultation now?

       5    A     Define consultation.        Just to look at a case, I

       6          don't charge anything.        But if I take the case,

       7          it's $150 an hour.

       8    Q     $150 per hour?

       9    A     That's correct.

      10    Q     Is there a minimum?

      11    A     No.

      12    Q     Do you have a printed fee schedule or a prepared

      13          fee schedule?

      14    A     No.   I just have a contract that I send to the

      15          attorneys.

      16    Q     Is a copy of that contract in the file materials

      17          that are going to be Exhibit 1 to your deposition?

      18    A     Yes, sir.

      19    Q     What annual income to you derive from performing as

      20          an expert witness?

      21    A     I'm not sure exactly.        I would have to look.

      22    Q     Can you approximate for last year?           For 2019?

      23    A     I don't -- truly, I don't know.

      24    Q     Can you put a range on it?         Is it more than

      25          $100,000?
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                                                                          Page 21
       1    A     Yes, it has to be.

       2    Q     Is it more than $200,000?

       3    A     I would say it's in the neighborhood of 200,000.

       4    Q     How many hours a week do you bill to your clients

       5          on average?

       6    A     I have no idea.      I typically work from the time I

       7          get up until the time I go to sleep, seven days a

       8          week.

       9    Q     And are you billing for most of that time?

      10    A     No.   I probably bill for half of it.          I have a lot

      11          of administrative stuff.         I have 14 folks that work

      12          for me, there is other people doing things in this

      13          office that I have to oversee but I am typically

      14          working from the time I get up till the time I go

      15          to sleep every day.

      16    Q     What time do you get up?

      17    A     That depends.      Depends on how late I work at night,

      18          and that's just the truth.

      19    Q     How many hours a day do you think you work?

      20    A     I would say on average 13 to 15.

      21    Q     And you bill for about half of that?

      22    A     I would say.      I would say about half is what I'm

      23          doing.

      24    Q     What standards or ethics apply to you as an expert

      25          witness?
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                                                                          Page 22
       1    A     There are three organizations that I belong to that

       2          I have ethics standards but as far as saying

       3          there's some standards of ethics, there's nothing

       4          published for traffic reconstructionist.            There are

       5          as a private investigator but as a traffic

       6          reconstructionist, there's nothing published.

       7    Q     Can you name some individuals who you consider to

       8          be your peers, with respect to your opinions in

       9          this case?

      10    A     Sure.    Tony Baker and Bob Sheffield and Jeremy

      11          Woods.

      12    Q     What makes them your peers?

      13    A     Tony and Bob both are traffic reconstructionists.

      14          Tony -- both of them work for me -- or work with

      15          SRI.    Tony was actually one of my trainers when I

      16          went through reconstruction back in '95 and '96, he

      17          was assistant director of IPTM and he now works for

      18          SRI.    Bob was the traffic reconstruction

      19          coordinator at Nashville PD until he retired two

      20          years ago and he's been working with SRI since

      21          then.    Jeremy works here as well.         He was a

      22          geomapping specialist in the Marine Corp, when it

      23          came to the GPS data and validity, I referred to

      24          Jeremy along with what I knew, both of us worked on

      25          there together.      But all four of us had looked at
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                                                                          Page 23
       1          this case and reviewed it and went over it back and

       2          forth and all of us had input on it.

       3    Q     Are you aware of anyone who disagrees with your

       4          opinions in this case?

       5    A     Am I aware of what?

       6    Q     Anyone who disagrees with the opinions you've

       7          formed in this case?

       8    A     Sure.    Your client Mr. Jean-Louis.         And the -- I

       9          don't know that the safety director, Daniela Haisan

      10          disagrees.     When I read her deposition, she simply

      11          had not analyzed the GPS data from KeepTruckin and

      12          would not -- would not acknowledge that was GPS

      13          data, she kept saying it was location data.

      14    Q     It's your belief that Mr. Jean-Louis disagrees with

      15          your opinions?

      16    A     He absolutely disputes stopping beside the roadway.

      17    Q     Is there anyone else who you know disagrees with

      18          your opinions?

      19    A     No.

      20    Q     When were you first contacted, with respect to this

      21          case?

      22    A     Day I was retained was September 12, 2018.

      23    Q     Was that the first time you were contacted about

      24          it?

      25    A     No.   I would have been contacted a few days before
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 24 of 117 PageID #: 497



                                                                          Page 24
       1          that but that's the date that I got the contract

       2          and we retained their check.

       3    Q     Who contacted you?

       4    A     Mr. Scott.

       5    Q     How did he contact you the first time?

       6    A     Via phone.

       7    Q     What did he say when he first contacted you about

       8          the case?

       9    A     He told me where the case was, the family had

      10          contacted him, they were adamant that Mr. Gonzalez

      11          did not do anything wrong, told me where he thought

      12          the trucks were and he asked me if I would go take

      13          a look at it.

      14    Q     And what did you think?

      15    A     I told him I would.

      16    Q     Is it your belief today that Mr. Gonzalez did

      17          nothing wrong?

      18    A     Based on everything that I see in this case, I

      19          don't see anything in the data that he did that

      20          caused this collision, no.

      21    Q     Okay.    Qualify within the data.        The question was

      22          is it your opinion that Mr. Gonzalez did nothing

      23          wrong to cause or contribute to the accident?

      24    A     I answered that as best I can, I have data.             I

      25          don't have -- the data itself shows what occurred,
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                                                                          Page 25
       1          I don't know what happened in the last seconds for

       2          him.    There's a period of time from the last ping

       3          of the GPS to where his engine shut off.            I don't

       4          know what he did in that time period.            So it's

       5          almost impossible to answer that question.

       6    Q     Is there any factual information to form statements

       7          of counsel or lawyers that you've received in

       8          relation to this case?

       9    A     Mr. Hickey, I don't understand your question.              I

      10          apologize, I just don't understand.

      11    Q     Let me back up a little bit.         You base your opinion

      12          on facts; is that correct?

      13    A     On data, yes.

      14    Q     On data.     Does that include statements of witnesses

      15          and statements of individuals?

      16    A     Yes.

      17    Q     Did any lawyer tell you of any facts related to the

      18          accident that you relied upon?

      19    A     No.

      20    Q     Did any witnesses make any statements that you've

      21          relied upon?

      22    A     I relied upon the statements of your client -- of

      23          Stanley Pierre that was asleep in the truck.             The

      24          deposition of the witness.         I also relied on the

      25          state police reconstruction.         Police report that
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 26 of 117 PageID #: 499



                                                                          Page 26
       1          was there, the physical evidence, the ELD data,

       2          which included the GPS data for both trucks.             But

       3          there are no other statements that I'm aware of of

       4          anyone that saw this wreck.

       5    Q     You indicated earlier that you had reviewed the

       6          depositions of the company representative for Point

       7          Logistics and of Mr. Jean-Louis, correct?

       8    A     That is correct.

       9    Q     Have you seen any other depositions in this case?

      10    A     No, sir.

      11    Q     Have you reviewed any photographs or video

      12          recordings in relation to this case?

      13    A     I have reviewed photographs but no video

      14          recordings.     Now, I understand there was a video

      15          recording made my Stanley Pierre that's in his

      16          statement but that's never been turned over to me.

      17    Q     Have you maintained each of the documents and

      18          pieces of information you received in relation to

      19          this case?

      20    A     Yes, sir.

      21    Q     And all those are in Exhibit 1, correct?

      22    A     Yes, sir.

      23    Q     Did you take any notes at any time regarding this

      24          case?

      25    A     Not that I'm aware of.
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                                                                          Page 27
       1    Q     Did you ask anyone for any factual information

       2          about this case?

       3    A     Yes.

       4    Q     What did you ask for?

       5    A     There were multiple requests that I made to Mr.

       6          Scott when he first contacted me about this case.

       7          When he first contacted me, I told him there was

       8          nothing I could do without the data.           And when he

       9          asked me what I needed, I started telling him and

      10          started gathering.

      11    Q     What did you ask for?

      12    A     I asked for the EODs, for any GPS tracking on the

      13          trucks.    I wanted the image of the ECM that was in

      14          Mr. Jean-Louis's truck that -- we simply couldn't

      15          get that, the truck was gone.          There was no way to

      16          image the ECM that was in Mr. Gonzalez's truck, it

      17          was just destroyed in the fire.          I also wanted cell

      18          phone records, that never materialized.

      19    Q     Do you know why it never materialized?

      20    A     I have no idea.

      21    Q     How would the cell phone records help you?

      22    A     For the -- I don't agree with their driver.             After

      23          we got the EOD data from Mr. Jean-Louis, there was

      24          a question that Mr. Scott and I had about whether

      25          Point Logistics called him or whether he called
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 28 of 117 PageID #: 501



                                                                          Page 28
       1          them and they just -- they were never obtained, to

       2          my knowledge.

       3    Q     Have you made any judgements about the credibility

       4          of any witnesses in this case?

       5    A     Sure.

       6    Q     Who is that?

       7    A     Mr. Jean-Louis.

       8    Q     What judgement have you made?

       9    A     That he committed perjury in his deposition.

      10    Q     And --

      11    A     And he -- and he just -- he just simply lied to the

      12          trooper about what happened.

      13    Q     Has anyone asked you to make any assumptions in

      14          this case?

      15    A     No, sir.

      16    Q     Have you made any assumptions?

      17    A     I think with every reconstruction that you do there

      18          are some assumptions you have to make.            You have to

      19          assume that training and materials you've relied

      20          upon are accurate, you have to assume that studies

      21          that you rely upon are accurate and you try to take

      22          what pieces of evidence that you have and fit them

      23          together into a puzzle that most -- has the most

      24          probability of what occurred.

      25    Q     Do you have any concerns or reservations about the
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 29 of 117 PageID #: 502



                                                                          Page 29
       1          assumptions you made in this case?

       2    A     No, sir.

       3    Q     How much time have you spent working on this case?

       4    A     I have no idea.

       5    Q     Do you have billing records?

       6    A     My billing records won't reflect all the time I've

       7          spent on this case but yes, I do.

       8    Q     Are they part of Exhibit 1?

       9    A     No, sir.     I haven't been asked for my billing

      10          records.

      11    Q     Would you be willing to produce those billing

      12          records to the court reporter as Exhibit 3?

      13    A     I'd be happy to send them to Mr. Scott and me and

      14          him can decide how to go from there.

      15                ATTORNEY HICKEY:       David, would you be willing

      16          to produce the billing records for this case?

      17                ATTORNEY SCOTT:       Yeah.   I think that that's

      18          information we'll exchange when we get through and

      19          the expert evolves as well but when I receive that,

      20          I'll forward that to you.         I think we're both

      21          entitled to exchange that information regarding

      22          experts.

      23    Q     How much time have you spent on investigation in

      24          this case?

      25    A     Mr. Hickey, I couldn't tell you.
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                                                                          Page 30
       1    Q     How much time have you spent on research?

       2    A     There's no way for me to tell you.           My billing

       3          record won't reflect it, it'll only reflect what

       4          I've billed for.

       5    Q     How much time have you spent on analyzing the

       6          information in this case?

       7    A     I don't know without looking.          There's no way.

       8    Q     Is there something you could look at that would

       9          refresh your memory?

      10    A     I'd have to look at the billing record but even

      11          that's not going to tell you how much time, because

      12          I've spent more than -- whatever is on my record,

      13          there's more.

      14    Q     How much time have you spent educating the attorney

      15          about this case?

      16    A     Several hours.

      17    Q     How much time have you spent preparing reports in

      18          this case?

      19    A     Without looking at the billing records, I couldn't

      20          tell you.

      21    Q     Would that be accurately reflected in the billing

      22          records?

      23    A     No.   What time I sit at my desk will be there, what

      24          time I spend while I'm out driving, working, no,

      25          it's never on the bill.
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                                                                          Page 31
       1    Q     How much time have you spent preparing to testify

       2          in this case?

       3    A     Part of the day Friday, Sunday, Monday, yesterday

       4          and part of the day today.         I don't know the exact

       5          amount of time, it's 30 hours or so, I would say.

       6    Q     Have you prepared any exhibits or models in this

       7          case?

       8    A     Yes.

       9    Q     What have you prepared?

      10    A     Besides my report, I have what I call a One Note

      11          that notes everything that I've done or everything

      12          that supports my opinions and what I've done.

      13    Q     Is that part of Exhibit 1?

      14    A     No.

      15    Q     Is this something you would be willing to make

      16          Exhibit 3 to your deposition?

      17    A     If Mr. Scott says that's okay, yeah, I don't care a

      18          bit.    It's all -- everything that's in -- well, not

      19          everything.     Most of what's in that is in my file.

      20                 ATTORNEY HICKEY:      We'll make the One Note file

      21          Exhibit 3, pending Mr. Scott's approval.

      22    Q     Is that something you could add to the Dropbox

      23          you're sending the court reporter?

      24    A     I think so.

      25    Q     Can you describe for us the work you did on this
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 32 of 117 PageID #: 505



                                                                          Page 32
       1          case chronologically?

       2    A     First thing I did was go to the scene.            And then I

       3          found the two trailers which were close to the

       4          scene.    Called Mr. Scott from there and talked to

       5          him while I was at the trailers.          Then we went back

       6          a few days later and mapped the scene, gathering

       7          the evidence that was there.         And then from there,

       8          it was really a wait.        There's a period of time

       9          that Mr. Scott and I had the discussion about this

      10          case and with the information that I had, I told

      11          him I simply couldn't help him because there -- I

      12          just didn't have enough data.          I didn't have the

      13          police photographs, I didn't have anything.             Then

      14          when he started gathering the data, we start -- I

      15          started piecing together what occurred.

      16    Q     What changed from the time you told him you could

      17          not help him to the time you felt that you could

      18          help him?

      19    A     He started getting information.          He started getting

      20          police photographs, he started getting the

      21          reconstruction report, he started getting the

      22          logbook data.      When he got the GPS data for the

      23          logbooks, that's when things started fitting

      24          together as to what occurred.          I knew the story

      25          that was in the police report of your client going
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                                                                          Page 33
       1          50 at the time at impact.         That did not at all fit

       2          with the physical evidence that was at the scene.

       3          The impact was too severe for that.           At the time I

       4          was assuming a 20 mile an hour impact between the

       5          two trucks and I knew that the engine and

       6          transmission would have probably been knocked out

       7          of Mr. Gonzalez's truck, I hadn't seen the truck or

       8          hadn't seen the photographs, but at the scene from

       9          all the gouge marks in the roadway and the

      10          location, I knew there was severe damage to the

      11          truck, along with there was brake marks all the way

      12          up the highway, so I knew the air system -- I knew

      13          the air system had been depleted in Mr. Gonzalez's

      14          truck very quickly and the spring brakes had

      15          applied because of those brake marks.            And that

      16          just did not -- that was not in any way indicative

      17          of a low speed -- lot closing speed impact.              So in

      18          my opinion, at the scene, Mr. Jean-Louis was

      19          traveling much slower than he had stated to the

      20          trooper.

      21    Q     Did you conduct any research in connection with

      22          this case?

      23    A     Yes, we did.      After we -- after -- after Mr. Scott

      24          told me that a big part of the fence so far had

      25          been -- that the data from KeepTruckin EOD was not
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 34 of 117 PageID #: 507



                                                                          Page 34
       1          accurate, we started digging in and looking at the

       2          accuracy in the rules on ELDs.          And there are

       3          specific rules about how they get specific data

       4          that are published in Federal Vehicle Standards

       5          and/or Federal Motor Carrier Safety Regulations.

       6          And what we were seeing in the rules themselves, a

       7          lot of the data that's in the GPS information was

       8          self-authenticated.       For instance, the milage

       9          that's logged on each data point is actually taken

      10          from the ECM in the truck.         The speeds that are in

      11          the GPS are actually taken from the ECM in the

      12          truck, they're not something that's gathered by a

      13          satellite.     The time by the rule has to be UTC time

      14          set for the area the truck is in or its home base

      15          of operation.      That's why when we look at the two

      16          GPS units, the time -- the times match, because by

      17          rule, they would have to.         So when you look at the

      18          mileage from the odometers and the speeds and you

      19          do a calculation on that from where the truck

      20          stopped beside the roadway to where it came to a

      21          final rest, that actually matches within 11 feet of

      22          the GPS points that I have in my report just from

      23          the GPS data.

      24    Q     Did you conduct any experiments or tests in

      25          relation to this case?
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                                                                          Page 35
       1    A     The answer to that is yes and I will be.            And the

       2          yes is the first ELD system that I had at SRI was

       3          KeepTruckin.      So a lot of the things that your

       4          safety director was saying, I knew on face value

       5          was not accurate because I had the system.             The

       6          reason I got rid of the system was when I bought my

       7          Ford F-150, it actually had a programmer -- an

       8          after-market programmer on the engine and the ELD

       9          system would not work with it.          KeepTruckin didn't

      10          know that, I didn't know that.          So I sent it back

      11          to them and I got one from J.J. Keller, which I

      12          have now, it wouldn't work either.           When I called

      13          J.J. Keller, we figured out it was because that

      14          programmer and I actually had to take the truck

      15          back to Ford and have it set back to factory

      16          settings for it to read it.         Wasn't any problem

      17          with KeepTruckin, it's just the way the systems

      18          are.    So the system itself, when I had it at the

      19          beginning in 2018, I knew it had GPS tracking in it

      20          because I would drive and would be on the phone

      21          with Jason at the office and he would be looking at

      22          me, we knew the GPS coordinates were correct.                He -

      23          - you can watch a truck go down the road in live

      24          time.    And on the demo video, you'll see them doing

      25          that for us.      And we knew there's a history that
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                                                                          Page 36
       1          you can retain.      Now, as far as the alert that

       2          KeepTruckin will give you, within 30 minutes of you

       3          going over hours, your clock will turn yellow, so

       4          you know you're about to be in violation.             I don't

       5          know if he -- I don't know if he set an audible

       6          alert or what he did, I don't know.           You can do

       7          that in KeepTruckin -- or you could, I don't know

       8          if you still can.       But it will absolutely alert the

       9          driver.    But it also alerts the administrator.

      10          When we would look at it on our screen, then if you

      11          looked at me driving and I got close to a

      12          violation, my name would light up yellow on the

      13          screen for the administrator back here at the

      14          office.    So there was things that I knew were

      15          inconsistent with the data.         She had said that the

      16          system communicates through your cell phone and if

      17          your cell phone loses connectivity, the system

      18          does.     That's not true at all.       The ELD device

      19          itself has its own cell phone data carved in it and

      20          if it loses connectivity, it keeps recording just

      21          as if -- just as if it was connected and then when

      22          it reconnects, it simply uploads that data.             I knew

      23          that from the first time, because I really asked

      24          questions on this video you're going to watch.              We

      25          -- on this video, we specifically asked the
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                                                                          Page 37
       1          question about the video and the accuracy of the

       2          GPS and his statement as best as I can recall

       3          verbatim is, that's the most reliable part of the

       4          system was the GPS.       So there's a lot of

       5          inconsistencies with what she said and what you're

       6          going to hear on the video itself as he's walking

       7          us through on the various things that the system

       8          will do.

       9    Q     When you say that system, are you specifically

      10          referring to the system that was in use on the

      11          Point Logistics truck in 2018 or are you talking

      12          about KeepTruckin system in general?

      13    A     KeepTruckin systems in general from what I had at

      14          the beginning -- at the beginning of 2018 to what I

      15          saw in the video, the system has changed very

      16          little.

      17    Q     Do you agree that KeepTruckin has different levels

      18          of service, that you can order more features or

      19          fewer features as needed or desired?

      20    A     Absolutely.     All their systems are that way.

      21    Q     Mr. Scott has produced to us a report signed by you

      22          dated August 7, 2020.        Do you have a copy of that

      23          with you?

      24    A     I do.

      25    Q     Did you prepare that?
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                                                                          Page 38
       1    A     I did.

       2    Q     Did you have any help in preparing that?

       3    A     Yes.    I told you earlier myself, Tony Baker, Bob

       4          Sheffield and Jeremy all had input on that.

       5    Q     First off, have you written any supplements or

       6          additions to that document?

       7    A     I believe we did update that document.

       8    Q     When did you do that?

       9    A     I think it was September 28, 2020.

      10    Q     So about a month after you wrote it, you prepared

      11          an update.

      12    A     That is correct.

      13    Q     Is a copy of the updated version in Exhibit 1 to

      14          your deposition?

      15    A     It will be, yes.

      16    Q     What's the difference between the first version and

      17          the updated version?

      18    A     I think there's a couple of opinions that were

      19          added to it.

      20    Q     What opinions are those?

      21    A     I'm not sure.      I just know I went back and as I was

      22          thinking about it, there's a couple things that I

      23          added.

      24    Q     Have you reached any conclusions that are not

      25          mentioned in either of those documents?
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                                                                          Page 39
       1    A     No, sir.     Not at this point.

       2    Q     Are there any errors or omissions in either of

       3          those documents?

       4    A     To my knowledge, no.        I think there was a couple

       5          things that we found in the August 7th one that was

       6          changed.     I don't recall what they were.

       7    Q     Is there anything in those documents that you're

       8          speculative of which you're unsure?

       9    A     No, sir.

      10    Q     Will you state your professional reputation on the

      11          accuracy and reliability of the conclusions in

      12          those documents?

      13    A     On the September 28th one, yes, sir.

      14    Q     Is there anything in those documents that you would

      15          do differently if you were preparing a disclosure

      16          today?

      17    A     No, sir.     It's not -- not in the --

      18    Q     Any addition --

      19    A     Not in the September 28th one, no.

      20    Q     Is there any additional information that might help

      21          you confirm or revise anything in those documents?

      22    A     I would like to add the ECN data from the Jean-

      23          Louis truck, but other than that, that would be it.

      24    Q     You mentioned earlier that you had mapped the scene

      25          of the collision on I-65, correct?
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 40 of 117 PageID #: 513



                                                                          Page 40
       1    A     That is correct.

       2    Q     How did you measure the scene when you mapped it?

       3    A     With a Total Station and with a drone and then with

       4          Google Earth.

       5    Q     How did you document your work at the scene?

       6    A     Photographs and video -- no, just photographs.              Not

       7          the -- we did a drive thru video.

       8    Q     Did you measure the drag factor or the coefficient

       9          of friction?

      10    A     I did not.

      11    Q     Did you measure the lane widths?

      12    A     We did.

      13    Q     Did you measure the slope of the highway?

      14    A     We did.

      15    Q     Do you know whether the scene had changed since the

      16          day of the accident?

      17    A     Yeah.     There was some -- what appeared to be fuel

      18          that was gone, the debris was gone, the trucks were

      19          gone, it was daylight versus dark, other than that,

      20          no.   That was the only thing I would say was any

      21          different.

      22    Q     I also think you told me that you inspected the

      23          tractor-trailer that Gilberto Gonzalez was driving

      24          at the time of the accident.

      25    A     I did not.     I inspected the trailer.        I did not see
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                                                                          Page 41
       1          the tractor.

       2    Q     Where was the trailer when you inspected it?

       3    A     It was over at the wrecker service that was across

       4          from the scene there at Horse Cave.

       5    Q     How long after the accident did you see it?

       6    A     It was on September 5th, I believe -- 5th or 8th.

       7    Q     Of 2018?

       8    A     Give me just a second, let me look at the date --

       9          the exact date.      September 15th.

      10    Q     About three weeks after the accident?

      11    A     Thereabouts, yes.

      12    Q     Is that the only time you inspected that vehicle?

      13    A     Yes.

      14    Q     What was the condition of the trailer when you

      15          inspected it?

      16    A     The trailer itself wasn't that damaged, the trailer

      17          for Mr. Jean-Louis was.        The front of the trailer I

      18          think was burned and that was it.

      19    Q     Did you measure the trailer while you were there?

      20    A     I did not.

      21    Q     Did you determine the weight of the trailer?

      22    A     I did not.

      23    Q     Did you determine what type of cargo was in it?

      24    A     No, sir.

      25    Q     Did you determine the track width of the trailer?
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                                                                          Page 42
       1    A     I did not.

       2    Q     Did you determine the length of the trailer?

       3    A     I did not.

       4    Q     Did you determine whether Mr. Gonzalez's tractor

       5          had ABS?

       6    A     No, sir, I did not.

       7    Q     Did you determine whether the trailer had ABS?

       8    A     I did not.

       9    Q     Did you determine whether the tractor had a speed

      10          governor?

      11    A     There would be no way for me to know that without

      12          looking at the ACM data.

      13    Q     How did you document your observations when you

      14          inspected the trailer?

      15    A     I took photographs of it.

      16    Q     Any other way?

      17    A     That's it.

      18    Q     Is it important to keep commercial vehicles,

      19          especially tractor-trailers, well maintained?

      20    A     It is.

      21    Q     Why?

      22    A     If things go wrong, it can cause traffic collisions

      23          and such.

      24    Q     Is it necessary to perform regulation maintenance

      25          on a tractor-trailer, especially that's more than
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 43 of 117 PageID #: 516



                                                                          Page 43
       1          10 years old?

       2    A     It is important to perform maintenance on a

       3          tractor-trailer if it's brand new, so the answer

       4          would be yes.

       5    Q     Could a truck that's poorly maintained pose a

       6          safety risk?

       7    A     Yes, sir.

       8    Q     For example, if the brakes aren't properly

       9          maintained, the truck may not be able to slow or

      10          stop when necessary to avoid a collision, correct?

      11    A     That is correct.

      12    Q     If the engine isn't properly maintained, fluids

      13          could leak and cause a fire hazard; is that right?

      14    A     That is correct.

      15    Q     Truckers are required to keep careful records of

      16          the maintenance performed on their commercial

      17          vehicle; isn't that right?

      18    A     They are.

      19    Q     And if a commercial vehicle owner has maintenance

      20          or repair work done on the brakes or engine or fuel

      21          system, they should have a record of what was done

      22          and when it was done, correct?

      23    A     That is correct.

      24    Q     Do you know the mechanical condition of Mr.

      25          Gonzalez's truck before the collision?
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 44 of 117 PageID #: 517



                                                                          Page 44
       1    A     I do not.

       2    Q     Did you ever ask for any records of the maintenance

       3          of that truck?

       4    A     I have not.

       5    Q     Why not?

       6    A     Because at the time, looking at the scene, I didn't

       7          think that was an issue.

       8    Q     Do you think it's an issue now?

       9    A     No.

      10    Q     Do you know whether any maintenance had been done

      11          on Mr. Gonzalez's truck?

      12    A     I do not.

      13    Q     Mr. Gonzalez was driving a 2007 Freightliner, do

      14          you know the stopping distance of that type of

      15          vehicle?

      16    A     Depends on what speed you're talking about; it can

      17          be calculated.

      18    Q     At 62 miles an hour, what is his stopping distance?

      19    A     About 213 feet with a drag factor of .6.

      20    Q     Do you know what engine was in Mr. Gonzalez's

      21          truck?

      22    A     It was a Detroit Diesel.         Give me just a second,

      23          I'll tell you what the specs call for.            It was a

      24          Series 60 Detroit Diesel.

      25    Q     Do you know how many miles the truck had on it?
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                                                                          Page 45
       1    A     No, I do not.

       2    Q     Do you know what kind of tires the truck had on it?

       3    A     I do not.

       4    Q     Do you know whether the brakes on Mr. Gonzalez's

       5          truck were adjusted properly at the time of the

       6          collision?

       7    A     All of them, no.       Some of them had to be because

       8          the truck left skid marks up to the very -- up to

       9          the final rest.

      10    Q     Did you ever inspect the brakes on Mr. Gonzalez's

      11          vehicle?

      12    A     I did not.

      13    Q     Do you know whether the brakes on Mr. Gonzalez's

      14          truck were working properly at the time of the

      15          collision?

      16    A     They appear to be post-impact, however, I don't

      17          know.

      18    Q     Isn't that important when you're reconstructing an

      19          accident to find out if the striking vehicle's

      20          brakes were working?

      21    A     I have evidence that the striking vehicle's brakes

      22          were working post-impact and that they were

      23          adjusted at least within the realms of where they

      24          would lock up, so no, I did not see that that was

      25          an issue.
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                                                                          Page 46
       1    Q     Do you know whether the headlights on Mr.

       2          Gonzalez's truck were working properly at the time

       3          of the collision?

       4    A     I do not.

       5    Q     Is that important in a nighttime collision?

       6    A     There -- it is.

       7    Q     I think you told me you also inspected the tractor-

       8          trailer operated by Mr. Jean-Louis at the time of

       9          the accident, correct?

      10    A     That is not correct.

      11    Q     You have not inspected that vehicle?

      12    A     I have not inspected the tractor of either vehicle.

      13    Q     Did you inspect the trailer?

      14    A     I looked at the trailer and took photographs, yes.

      15    Q     When did you do that?

      16    A     The same day, September 15th.

      17    Q     What engine did Mr. Jean-Louis's truck have in it?

      18    A     According to the specs it had a Volvo D13.

      19    Q     What horsepower did that engine have?

      20    A     I can't -- there is no way to tell you with any

      21          engine what horsepower they have without actually

      22          imaging the ECM, because that can be altered just

      23          through the program itself.

      24    Q     What was that truck's power to weight ratio?

      25    A     I don't know.
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                                                                          Page 47
       1    Q     What type of transmission did the truck have it?

       2    A     I'm not sure.

       3    Q     How long would it take for Mr. Jean-Louis's vehicle

       4          to accelerate from zero to 70 miles per hour?

       5    A     That is -- that's a very broad statement.             It all

       6          depends on what he's doing but based on the

       7          acceleration factors we calculated for him pulling

       8          out, it would take -- based on what he pulled out

       9          at, it would take about 7,000 feet on that hill,

      10          about 7,700 feet, actually.

      11    Q     About a mile and a half?

      12    A     On that hill, yes.       There's the calculation.

      13          Seventy miles an hour, acceleration factor we

      14          calculated was .021 so 7,777 feet to get up to 70.

      15    Q     Did Mr. Jean-Louis's truck have a speed governor on

      16          it?

      17    A     I don't know.      Speed governors are electronic and

      18          they're in ECM.

      19    Q     What's the maximum rate of acceleration of that

      20          truck?

      21    A     There's no way to know, not without testing it on

      22          an uphill grade.       And that has to be done with a

      23          load on the grade and there was no way to know.

      24    Q     How long would it take to move from being stopped

      25          in one lane and merge into another lane?
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 48 of 117 PageID #: 521



                                                                          Page 48
       1    A     There is absolutely no way to know that.            How far

       2          did you travel on the shoulder?          How quickly did

       3          you turn?     There's a number of variables there.

       4    Q     Did you use any specialized equipment during your

       5          analysis of this case?

       6    A     I used a drone, I used a Total Station and then

       7          computer programs and software.

       8    Q     For a northbound tractor-trailer on I-65 at the

       9          site of the collision, how far away from the area

      10          of impact would a tractor-trailer with its

      11          taillights working be visible to an oncoming

      12          vehicle in the dark?

      13    A     I can't tell you.       We went back 3,400 feet and as

      14          long as the bridge is not in the line of site, at

      15          least 3,400 feet.

      16    Q     How long in time or seconds does it take a tractor-

      17          trailer traveling the interstate/highway speed to

      18          move from one lane to another?

      19    A     Again, that all depends on the driver and how

      20          swiftly he turns.

      21    Q     What's the range?

      22    A     There is no range.       It would all depend on the

      23          driver himself.

      24    Q     Is that something you can calculate?

      25    A     No.   I mean, it would literally -- there's multiple
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 49 of 117 PageID #: 522



                                                                          Page 49
       1          factors there.      You can -- you can semi-calculate

       2          the total weight or a swerve but someone who is

       3          just gradually turning, there's no way to tell.

       4    Q     Just to make sure I have that clear, there's no way

       5          to determine, as an accident reconstructionist, how

       6          long it would take a tractor-trailer at highway

       7          speed to move from one lane into another lane,

       8          correct?

       9    A     It all -- again, it all determines -- it's all

      10          determined by how quickly the driver turns.             You

      11          can look at studies again and use studies to get a

      12          lateral acceleration record [inaudible].            If you

      13          use that, then you can say yeah, it's going to take

      14          this distance.      But if someone is just gradually

      15          turning from the shoulder and trying to get up to

      16          speed, there's no way to calculate that speed.

      17    Q     What's the fastest at 62 miles an hour, what's the

      18          fastest you can move from one 12-foot lane into an

      19          adjoining 12-foot lane?

      20    A     Are you talking about just turn lane, Mr. Hickey?

      21    Q     Yes.

      22    A     Are you talking about just turning?

      23    Q     Let me rephrase the question.          What's the fastest

      24          time that a tractor-trailer can move at 62 miles

      25          per hour from one lane into an adjoining lane on
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 50 of 117 PageID #: 523



                                                                          Page 50
       1          the interstate/highway?

       2    A     We calculated for Mr. -- we calculated in this case

       3          about 124 feet to change lanes for Mr. Gonzalez.

       4          And that was using a swerve to avoid calculation,

       5          so I would say that's very close.

       6    Q     A hundred twenty-four feet is a distance, how much

       7          time would that take?

       8    A     About 1.36 seconds, that's just to turn.            That's

       9          not counting all the things that go on before.

      10    Q     How long in time per seconds, does it take a

      11          tractor-trailer coming from a complete stop to move

      12          from one lane into another lane?

      13    A     There's absolutely no way to answer that.

      14    Q     How long in distance or feet does it take a

      15          tractor-trailer coming from a complete stop to move

      16          from one lane into another lane?

      17    A     There's absolutely no way to answer that.             If

      18          you're on the shoulder, driver's training that the

      19          tractor-trailer driver teaches you to go get your

      20          vehicle up to near speed before leaving the

      21          shoulder and then merge into traffic slowly.               And

      22          slowly means you're barely turning the wheel,

      23          moving over so traffic can see you.           There's just

      24          no way to answer that, it would all depend on the

      25          truck.
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                                                                          Page 51
       1    Q     Did you determine which lane Mr. Gonzalez's vehicle

       2          was traveling in as he approached the site of the

       3          collision?

       4    A     Based on the scene data, he would have been in the

       5          right lane.

       6    Q     How long had he been in the right lane?

       7    A     I can't answer that.

       8    Q     Was he in the right lane when the other tractor-

       9          trailer came into his vision?

      10    A     Mr. Gonzalez?

      11    Q     Yes.

      12    A     Based on -- based on the evidence, there's no way

      13          to know.

      14    Q     Can GPS tracking data tell us which lane a vehicle

      15          is in on a multi-lane highway?

      16    A     It depends on how accurate the data is but yeah, it

      17          could.

      18    Q     Can it in this case?

      19    A     I have not seen the GPS data for -- a latitude and

      20          longitude for Mr. Gonzalez's truck, so I can't

      21          answer that.

      22    Q     How about for Mr. John Pierre's truck?

      23    A     Mr. John Pierre's truck, the GPS data is pretty

      24          clear he was on the shoulder when he stopped and

      25          pulling out, so yes, I would have to say the GPS
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 52 of 117 PageID #: 525



                                                                          Page 52
       1          data for KeepTruckin app does put -- is good enough

       2          to put him in a lane.        And based on the

       3          demonstrations that we saw, it's pretty accurate

       4          across the board.

       5    Q     And I said John Pierre, it's Jean-Louis, I

       6          apologize.

       7    A     Okay.

       8    Q     Was there anything obstructing Mr. Gonzalez's view

       9          of the vehicles ahead of him?

      10    A     I can't answer that.        I don't know.     If you take

      11          all -- if you take all the evidence in this case,

      12          Mr. John Pierre --

      13    Q     Jean-Louis.

      14    A     Jean-Louis, testified that there was three trucks

      15          in a line.     I don't know if there's a truck in

      16          front of Mr. Gonzalez that pulled out, went to the

      17          left, I don't know.

      18    Q     Was there anything that prevented Mr. Gonzalez from

      19          moving one lane to his left as he approached the

      20          other tractor-trailer?

      21    A     I can't -- again, Mr. Hickey, I can't definitively

      22          answer that question, in large part because Mr.

      23          Pierre -- Mr. Jean-Louis has given so many

      24          different versions of what occurred here.             If you

      25          take his first statement to the police, it's
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 53 of 117 PageID #: 526



                                                                          Page 53
       1          entirely possible there's a truck just to the left

       2          of Mr. Gonzalez and that's that truck that he

       3          actually saw coming up behind him, because he says

       4          in his deposition there were three trucks.             And if

       5          that's the case, then yes, there would be a truck

       6          to Mr. Gonzalez's left.        I don't know that, I'm

       7          just -- I'm piecing together what has been said by

       8          your driver in this case.         But it is clear from the

       9          physical evidence at the scene, when Mr. Gonzalez

      10          struck the rear of Mr. Jean-Louis's truck, he's in

      11          the right lane and he's going straight, he's not

      12          turning to his right, because the gouge marks and

      13          the scrape marks go in a straight line up the

      14          northbound lane, they're not diagonal going toward

      15          the shoulders if the vehicle was changing lanes.

      16    Q     Are you aware if there's anything that prevented

      17          Mr. Gonzalez from proceeding into the center lane

      18          and going past Mr. Jean-Louis's tractor-trailer?

      19    A     Other than the fact that your client said there was

      20          a truck in the left lane and that there were three

      21          trucks -- there was three, his truck and two more

      22          is the way I took his deposition testimony, no.

      23    Q     Do you believe that there were other trucks?

      24    A     I don't know.      I don't know.     Looking at the -- you

      25          asked me earlier if I considered everything, these
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                                                                          Page 54
       1          are all scenarios that I've went through.             I have

       2          no data or documentation other than what people

       3          have said.     And I know for certain Mr. Jean-Louis

       4          has told a story about not stopping on the

       5          shoulder, that's pretty clear, so it's hard to take

       6          him at his word for anything.

       7    Q     Is there any physical evidence that there was

       8          something preventing Mr. Gonzalez from proceeding

       9          into the center lane past Mr. Jean-Louis's tractor-

      10          trailer?

      11    A     No, sir.

      12    Q     Was Mr. Gonzalez talking on his cell phone just

      13          before the collision?

      14    A     I do not know.

      15    Q     Was Mr. Gonzalez reading or sending a text message

      16          just before the collision?

      17    A     I do not know.

      18    Q     Was Mr. Gonzalez surfing the internet on his cell

      19          phone just before the collision?

      20    A     I can't answer that.

      21    Q     Was Mr. Gonzalez eating something just before the

      22          collision?

      23    A     I can't answer that.

      24    Q     Was Mr. Gonzalez taking a drink just before the

      25          collision?
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 55 of 117 PageID #: 528



                                                                          Page 55
       1    A     I don't know.

       2    Q     Was Mr. Gonzalez fatigued or sleepy just before the

       3          collision?

       4    A     I don't know.

       5    Q     Is crush depth one way to determine the impact

       6          speed of a motor vehicle involved in an accident?

       7    A     It is.

       8    Q     What other ways do you have to determine the impact

       9          speed of a motor vehicle involved in an accident

      10          with another motor vehicle?

      11    A     There are multiple ways.         Typically, you can use

      12          momentum.     In a case like this, that would be what

      13          I would do to know the impact speed of one truck is

      14          calculated from the GPS and that would be Mr. Jean-

      15          Louis but in this case, there's something with the

      16          post-impact data that makes absolutely no sense

      17          physics wise.      It -- the distances are just too

      18          great for these vehicles to travel post impact with

      19          brakes locked on Mr. Gonzalez's truck the way they

      20          were, so there's just no real way that we've been

      21          trained as reconstructionist to calculate that

      22          speed.

      23    Q     So is it fair to say that you were not able to

      24          determine the speed of Mr. Gonzalez's vehicle at

      25          the time of the impact?
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 56 of 117 PageID #: 529



                                                                          Page 56
       1    A     Other than through his GPS tracking, no.            And the

       2          impact speed we cannot tell, because from the time

       3          the last ping to the time of impact, we don't know

       4          what he did, whether he slowed down, whether he

       5          attempted to steer, we just don't know.            There's a

       6          period of time that we just don't have data for.

       7    Q     Do you know if he applied his brakes before the

       8          impact?

       9    A     There was no physical evidence of that but the

      10          answer is no, we don't know.         There's a 60 second

      11          window -- let me share my screen here.            When we

      12          look at the data, the last ping of his truck was at

      13          4:04 a.m., he was going 62, and then the ignition

      14          was off at 4:05.       During that minute we don't know

      15          what he did, we don't know if he hit his brakes, we

      16          don't know if he slowed down.          We assume the 62

      17          mile an hour speed at impact, we really don't know

      18          that.     It could have been much slower than that.

      19          We just don't know.

      20    Q     The information that you're referring to is from

      21          the Verizon Connect Detail Report?

      22    A     That is correct.

      23    Q     Where did that come from?

      24    A     That was provided to me by Mr. Scott.

      25    Q     How do you know that information is reliable?
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                                                                          Page 57
       1    A     That's another company that I've dealt with.             I've

       2          not had their system but I went through about a

       3          two-hour demo with them and per them, the system is

       4          really accurate.

       5    Q     How do you know that print out is an accurate

       6          account of the information that they have?

       7    A     I do not.

       8    Q     Tell me about the training and education you've had

       9          in the field of GPS data analysis.

      10    A     My education is very limited in that.            It's things

      11          I've learned along the way as a reconstructionist

      12          and different seminars and using coordinates.

      13          Jeremy's is much more detail as a Marine and

      14          working intelligence for the Marines and planning

      15          missions. He had about 1,800 hours training in

      16          making maps and doing the things that we did here,

      17          planning missions and missel launches for the

      18          Marine Corp and for the U.S. Military.            He and I

      19          worked on this together, hand in hand.            And when we

      20          actually went back and tested the accuracy of the

      21          data from data that was collected within the data,

      22          it was -- the distances were about 11 feet apart.

      23          I can share my screen with you again.            I looked at

      24          -- in my report, I calculated the distances that we

      25          travel -- that Mr. Jean-Louis traveled preimpact
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 58 of 117 PageID #: 531



                                                                          Page 58
       1          from the stopped position at the very top -- can

       2          you see my cursor?

       3    Q     Yeah.

       4    A     From zero to 10.3 miles an hour based on the GPS

       5          data, we calculated 217.95 and that's the front --

       6          that's 10 feet back from the bumper because I

       7          assumed the GPS transmitter was 10 feet back from

       8          the bumper, if you saw the footnote in my report,

       9          which I'm sure you did.        So that's 217.9 feet the

      10          GPS transponder traveled.         And then going from 10.3

      11          to 15.1, he traveled another 188.41 feet.             And then

      12          to get to the area of impact, he traveled, it was

      13          179.9 feet, I think.        And then you've got to add 60

      14          for the rest of the length of the truck to get the

      15          rear of the truck.       Those data points added up to

      16          646.26 feet.      When I was getting ready for this

      17          deposition, I thought is there another way to

      18          calculate that distance, so I -- after reading

      19          through the ELD data, the law -- the rules, I know

      20          that the mileage on this truck has to come directly

      21          from the odometer, so looking at the mileage when

      22          the truck got to zero, the mileage was 772 --

      23          661.51.    And then he started moving while he was

      24          logged off duty, we looked at the log -- the time

      25          on -- sorry.      I'm moving around on you too quick.
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                                                                          Page 59
       1    Q     That's all right.

       2    A     The time when he first stopped was 3:59 a.m. on the

       3          shoulder.     Looking at the driver's log, he was

       4          stopped at 3:59:19 and we know he stopped for two

       5          reasons.     One, the KeepTruckin app will not let you

       6          change duty status unless you're stopped.             It's a

       7          safety feature with ELDs, you can't change them if

       8          you're moving.      Two, when this truck was in motion

       9          on the ELD, if gives you that signal -- a symbol

      10          right here.     Can you see my cursor move?

      11    Q     Yes, sir.

      12    A     All right.     So we know when he logs off duty he is

      13          stopped at 3:59.       Then he logs in personal

      14          conveyance so he can drive the truck but it doesn't

      15          count as driving time.        That's one of the

      16          exceptions in the Federal Motor Carrier Safety

      17          Regs, part 395, drivers can use the truck for

      18          personal reasons.       So he begins driving again

      19          because you can see the symbol here.           So when the

      20          wreck occurred, he was driving the truck in

      21          personal conveyance, not on duty driving time,

      22          okay?    So that's at 4:05.       So we go back up here at

      23          4:04, we see the truck still at zero and then he

      24          starts at 10.3 -- 10.3 miles an hour, that's the

      25          first reading.      Going up to zero, where the truck
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                                                                          Page 60
       1          stops again and this is the ending mileage on the

       2          truck is 772,661.75.        So the distance I calculated

       3          from the GPS was 646.26 feet up at the top.             The

       4          trooper measured the distance from the area of

       5          impact to final rest at 612.18 feet, I just

       6          discount the .18 because that's irrelevant to us.

       7          Adding those two numbers together from the GPS and

       8          the physical evidence at the scene, the truck

       9          traveled 1,256.26 feet.        Looking at the odometer of

      10          the truck, which has nothing to do with the GPS,

      11          it's just when it takes that ping, it records the

      12          odometer reading.       When it pulled off at the stop,

      13          it was 772,661.51 miles, at final rest it was

      14          776,661.75, that's .24 miles multiplied by 5280,

      15          that's 1,267.2 feet and that's the difference in

      16          the two of 10.94 feet.        That's just -- that can

      17          just be a measurement error.         Either me putting a

      18          measurement on the Google Map from pin to pin wrong

      19          or the trooper not measuring all the way to the end

      20          of the truck or all the way back to in there, so

      21          this data is extremely reliable based on this and

      22          it's comparing two pieces of information that it

      23          captured against itself based on that.            So I'm

      24          highly confident and we know definitively, not

      25          looking at the GPS data but looking at the mileage
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                                                                          Page 61
       1          in the area that I have him stopped and my report

       2          by my map, he had to stop because here it is on the

       3          log itself and on the time log, which your safety

       4          consultant said was most accurate, I think was this

       5          extra time log.      He could not have been moving when

       6          he logged off duty.

       7    Q     The GPS data, which you're looking at from

       8          KeepTruckin, is that called bread crumb

       9          coordinates?

      10    A     Yes.    There was -- I don't know, Mr. Hickey, there

      11          were multiple pages of this.         Yeah, that's what

      12          that is.

      13    Q     And a bread crumb coordinate is something that, it

      14          pings a satellite and you get periodic reports of

      15          the location of the truck, correct?

      16    A     Yes.    Can you see this?

      17    Q     Yes.

      18    A     That's where this comes from.

      19    Q     That's not a continuous record of every inch the

      20          truck is traveling, it's just one per minute or one

      21          per each period of time, correct?

      22    A     It's my understanding when the truck changes

      23          direction or changes speeds, it will ping but when

      24          you watch this, it actually -- when you watch it

      25          going live down the road, it's actually uploading
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                                                                          Page 62
       1          data about every two -- about everyone to two

       2          seconds, it's just not keeping it on the cloud.

       3    Q     So it's uploading data but it's not keeping it?

       4    A     Apparently so.      When you watch this thing -- when

       5          you watch this go down the roadway, what he -- what

       6          he told us was about everyone to two seconds it's

       7          uploading data.

       8    Q     What kind of device was recording the times and

       9          locations of Mr. Gonzalez's truck?

      10    A     I'm not sure.      There's a couple of devices that

      11          Verizon makes, I don't know what he had.            They have

      12          one that actually sits up on the dash, much like

      13          KeepTruckin, that I'm aware of.          They have one that

      14          just simply plugs into your diagnostic board.

      15    Q     What kind of device was transmitting the times and

      16          locations of Mr. Gonzalez's truck?

      17    A     I can't answer that.        I don't know.

      18    Q     Have you done any research or obtained any

      19          documents or records that determine the accuracy of

      20          the Verizon Connect GPS tracking software that Mr.

      21          Gonzalez was using?

      22    A     Other than when they were trying to sell me this a

      23          few months ago, no.       I went through a detailed demo

      24          with them, it's been a couple months ago and just

      25          decided not to do that.        I'm more interested -- I'm
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                                                                          Page 63
       1          more interested in things that trucks are using

       2          than just -- just general pleats.

       3    Q     Are you aware of the percentage of errors in the

       4          Verizon Connect Reveal Tracking Software?

       5    A     I am not.

       6    Q     Have you ever reviewed any verified information

       7          regarding the Verizon Connection Reveal Tracking

       8          Software and how many updates there were for 2018

       9          prior to the accident?

      10    A     No, sir.

      11    Q     Do you have any verifying source documents that you

      12          relied to determine the accuracy of the KeepTruckin

      13          GPS software utilized by Mr. Jean-Louis?

      14    A     Could you restate that please?

      15    Q     Sure.    What verifying source documents have you

      16          utilized to determine the accuracy of the

      17          KeepTruckin GPS software utilized by Mr. Jean-

      18          Louis?

      19    A     Other than talking to them, me having the software

      20          itself and comparing the data within the data

      21          against itself, I have none.         However, I have a

      22          system that's going to be delivered here Friday and

      23          we're going to test it ourselves.

      24    Q     How do you know that's the same system that Mr.

      25          Jean-Louis was using two years ago?
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                                                                          Page 64
       1    A     We don't.

       2    Q     Have you obtained or reviewed any documentation

       3          regarding updates for Verizon Connect Reveal

       4          Tracking Software from Louis logistics?

       5    A     No.

       6    Q     Do you have any way of knowing whether that

       7          software is up to date?

       8    A     No, sir.

       9    Q     Have you obtained or reviewed any documentation

      10          from T-Mobile to show that Mr. Gonzalez mobile

      11          phone was up to date with any software tracking app

      12          or operating system?

      13    A     No, sir.

      14    Q     Have you obtained or reviewed any documentation

      15          from Verizon that shows Mr. Gonzalez's mobile phone

      16          was up to date with updating tracking software?

      17    A     No, sir.

      18    Q     Have you obtained or reviewed any information that

      19          Lease Logistics provided Mr. Gonzalez with a mobile

      20          phone to utilize or a laptop to utilize with a

      21          tracking software?

      22    A     No, sir, I have not.

      23    Q     Do you know what the U.S. Government GPS percentage

      24          of error for real time reporting is?

      25    A     No, sir, I do not.
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                                                                          Page 65
       1    Q     Do you have any idea if on all the devices that you

       2          relied on in this case, that any or all of those

       3          devices had updated their software prior to the

       4          accident?

       5    A     I do not.

       6    Q     Did you obtain or review Ms. Gonzalez's mobile

       7          phone to determine the time she says she spoke with

       8          her husband after the accident?

       9    A     I did not.

      10    Q     Is it important to know whether Ms. Gonzalez was

      11          distracted in order to determine what caused the

      12          accident?

      13    A     That is information we would like to know but I

      14          just simply to not have the data.

      15    Q     Did you review Mr. Gonzalez's mobile phone records

      16          or any other records associated with his personal

      17          mobile phone, laptop, anything like that?

      18    A     I did not.

      19    Q     Is that important information you'd like to have to

      20          determine the cause of the accident?

      21    A     It's -- yes.      It's something that I would like to

      22          review.

      23    Q     Did you obtain or review any other advice that Mr.

      24          Gonzalez may have had to determine whether he was

      25          distracted just before the accident?
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                                                                          Page 66
       1    A     Sir, it's my understanding that any device that Mr.

       2          Gonzalez had burned inside of the truck, so there's

       3          no way for me to obtain any of that.

       4    Q     You can get his cell phone data without having his

       5          cell phone, correct?

       6    A     You may be able to pull a record of that but you

       7          said did I obtain any of his devices and the

       8          devices are gone.

       9    Q     Did you obtain any of the records from those

      10          devices?

      11    A     I personally can't obtain the records but no, I did

      12          not.

      13    Q     Is it common for the clock in an electronic control

      14          module of a truck to be off by a few minutes?

      15    A     It is.

      16    Q     Could the clock time on the device in Mr.

      17          Gonzalez's truck been off by a few minutes?

      18    A     According to the rule, the devices themselves had

      19          to have the time directly from UTC that they

      20          obtained the time independently and they have to

      21          adjust it for the home base -- the time has to be

      22          adjusted for home based upon the carrier.             So both

      23          devices should be working on UTC time and they

      24          obtain those times independently off of the truck.

      25    Q     When you say by a rule, is that a Federal Motor
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                                                                          Page 67
       1          Vehicle regulation?

       2    A     It actually is.

       3    Q     And is that regulation applied to trucks

       4          manufacturing in 2007?

       5    A     Has nothing to do with trucks, it's for the ELDs

       6          themselves.     Let me screen share again.         In the

       7          Appendix of part 395 you'll see this rule, it's

       8          4.3.15, "The ELD must obtain and record date and

       9          time information automatically without allowing any

      10          external input or interference with motor carrier,

      11          driver or person.       The ELD time must be

      12          synchronized to Coordinated Universal Time and the

      13          absolute deviation of UCT must not exceed 10

      14          minutes at any point."        I'll go ahead and show you

      15          the rest of this.       I said earlier that the ELD

      16          obtains the data from the -- the mileage from ECM,

      17          this is the rule 4.3.13 and, "The ELD must monitor

      18          the odometer message broadcast on the engine ECM or

      19          the vehicle's databus and use it to log total

      20          vehicle miles information," and it goes on.             And

      21          the speed, again, 4.3.12, Vehicle Motion Status.

      22          "Once the vehicle speed exceeds the set speed

      23          threshold, it must be considered in motion."             Once

      24          the vehicle is five -- below zero miles per hour

      25          and stays at zero for three consecutive seconds,
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                                                                          Page 68
       1          the vehicle will be considered stopped.            And the

       2          rules say that if the vehicle -- the speed

       3          threshold, if it -- cannot be over five miles an

       4          hour if it's [inaudible].         So when the vehicle

       5          moves five miles an hour, it has to go to drive

       6          unless the vehicle's set off duty personal

       7          conveyance, then it will not go to driving.

       8    Q     So based upon the commentary regulation you just

       9          showed me, Mr. Gonzalez's clock on his truck could

      10          have been off as much as 9 minutes and 59 seconds

      11          and still been within the regulation, correct?

      12    A     That would be correct.

      13    Q     Do you believe Mr. Gonzalez's truck was moving at

      14          62 miles per hour for almost an hour before the

      15          collision?

      16    A     I can't -- I can't answer that.          I can only tell

      17          you what the data is showing.          It's showing from

      18          3:12 to 4:04 he was traveling consistently 62 miles

      19          an hour.

      20    Q     So you haven't formed a belief as to whether that

      21          is accurate or not?

      22    A     In my opinion, it probably is.          My guess is that's

      23          probably what the truck was going then but I can't

      24          say that definitively.

      25    Q     Do you believe Mr. Gonzalez's truck went from 62
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 69 of 117 PageID #: 542



                                                                          Page 69
       1          miles per hour to zero miles per hour within a few

       2          seconds after the collision?

       3    A     You have one minute that goes from 62 and then the

       4          engine is off, it doesn't say it's zero, so no, the

       5          truck didn't go from 62 to zero in a few seconds.

       6          There's no data running.

       7    Q     If the engine is off, the data cuts off?

       8    A     On this particular engine, yes.          If the -- if the

       9          device is getting the data from the ECM, as far as

      10          speed, then yes, it would go -- it didn't go to

      11          zero, there's just no read.

      12    Q     Do you believe the fire started three to five

      13          minutes after Mr. Gonzalez's truck came to a stop

      14          on the side of the road?

      15    A     I have no idea how long it was.

      16    Q     Do you have any idea why Mr. Gonzalez did not get

      17          out of his truck?

      18    A     My estimation is the truck was so damaged he

      19          couldn't.     There were people there that was trying

      20          to get him out and couldn't get him out, according

      21          to the 911 calls.

      22    Q     Who was trying to get him out?

      23    A     I don't know who it was.         There were callers that

      24          called 911 that said they were trying to get him

      25          out but could not.
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                                                                          Page 70
       1    Q     Did you read Mr. Jean-Louis's testimony where he

       2          said he was trying?

       3    A     Actually, Mr. Jean-Louis testified that he sat in

       4          his truck for about five minutes assuming he had a

       5          blowout until he saw smoke behind him then he got

       6          out and went back there.         That was his testimony.

       7    Q     Did he testify that he tried to help the man out of

       8          the burning truck?

       9    A     After he sat there for about five minutes, yes,

      10          sir, according to his testimony.

      11    Q     Were you able to determine the speed of Mr. Jean-

      12          Louis's tractor-trailer at the time of impact?

      13    A     I think it was about 19.4 based on the GPS data and

      14          the way he was accelerating.

      15    Q     How do you know that?

      16    A     We know the distance which the last ping was at

      17          15.1 miles an hour.       We measured the distance from

      18          that ping to the area of impact.          We had to add 60

      19          foot for the truck, because the back of the truck

      20          is what was impacted.        The GPS unit, as I said

      21          earlier, sits about 10 feet behind the front

      22          bumper, so adding that 60 feet, it jumped 249 feet,

      23          I think -- 239.      Let me look at the measurement

      24          here, 239.9 feet.       Calculating that distance at the

      25          point -- we use that 239.9 feet and the
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                                                                          Page 71
       1          acceleration factor that it took to go from 10.1 to

       2          15 -- I think 10.4 to 15.1 miles an hour.             Let me

       3          go back and look here.        10.3 to 15.1, the

       4          acceleration factor during that time period was

       5          .021 Gs.     We used that same .021 Gs for that 239.9

       6          feet, that put him at going [inaudible] miles an

       7          hour when the rear of his truck [inaudible] impact.

       8    Q     How much time passed from that last ping until the

       9          point of impact?

      10    A     We calculated it to be about 9.3 -- 9.28 seconds.

      11    Q     And in that 9.28 seconds, do you know whether he

      12          did more acceleration or less acceleration?

      13    A     We don't -- we do not know.         That's why we used

      14          that .021.     The first -- the first increment was a

      15          little bit lower when he started pulling out from

      16          zero.    That was .016 Gs and then it went to .021,

      17          so we really don't know.         We used the consistent

      18          data that we had of .021 Gs.

      19    Q     Is the difference in speed between two colliding

      20          vehicles called the Delta-V?

      21    A     No.   The Delta-v is an instantaneous change in

      22          velocity.     The difference in speed between the two

      23          vehicles is called the closing speed.

      24    Q     What was the closing speed between the two vehicles

      25          at the time of impact in this case?
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                                                                          Page 72
       1    A     We really can't tell you.

       2    Q     Do you have a range?

       3    A     No.   We can't.     By all appearances, Mr. Hickey,

       4          your client continued driving and drove Mr.

       5          Gonzalez's truck up the highway.          There's no

       6          explanation for those two trucks traveling 612 feet

       7          past the area of impact.         The speed would be -- the

       8          speed would have to be astronomical for the trucks

       9          based on the physical evidence of the skid marks

      10          and the brakes on the Gonzalez truck, the other

      11          system was probably masking those skid marks going

      12          up the highway.      There's no -- I can't calculate

      13          the speeds.     It's just too far.

      14    Q     For the record, my client was 300 miles away at the

      15          time of this accident but I think I know where

      16          you're going with that.

      17    A     I'm sorry, Mr. Jean-Louis.         And the damage to these

      18          two trucks, even at 19 miles an hour, is not

      19          consistent with Mr. Gonzalez going fast enough to

      20          knock these two trucks that far with brakes locked.

      21    Q     Is your testimony that these two vehicles traveled

      22          the entire distance from the point of impact to the

      23          point of final rest with brakes locked up?

      24    A     There's -- the trooper measured -- the trooper

      25          measured skid marks that were 538 feet long.
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                                                                          Page 73
       1    Q     For how many tires?

       2    A     He only measured one set but in the photographs

       3          there are more.

       4    Q     How many?

       5    A     I can't really tell.        I can show you -- I can show

       6          you what I can see but I can't really tell.

       7    Q     I'd rather get your verbal testimony.

       8    A     Well, I'm going to give it to you.

       9    Q     Tell me how you can tell.

      10    A     Here's the scene of the collision.           As you can see,

      11          there's a skid mark on the left side starting about

      12          this point and starting up the left side.             On the

      13          right side, the skid mark starts in this area.              If

      14          we look at it here, I've drawn arrows up both sides

      15          and as we continue up the marks, you can clearly

      16          see the left side -- or the right side in over --

      17          underneath what appears to be diesel is another set

      18          of skid marks going up the roadway.           Inside the

      19          skid mark on the right side, you can see gap skids

      20          and as we continue up, you can still see the left

      21          side skid mark going up the roadway, you can see a

      22          right-side skid mark going up the roadway, you can

      23          see what appears to be a skid mark in the center of

      24          the truck.     And then as we get closer, you can

      25          still see the same skid marks on both the left and
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                                                                          Page 74
       1          right side of the truck.         When you get up closer,

       2          you can see the skid mark going up to the drive

       3          axels of Mr. Gonzalez's truck, you can see skid

       4          marks leading up to both the rear tandem tires on

       5          the trailer.      So it appears, for the entire 530

       6          feet, there's skid marks from this truck but I

       7          really can't be definitive.         The trooper didn't

       8          document them on his -- on his map.           I don't know

       9          if he just couldn't tell -- there's times you can

      10          see things in photographs you can't see when you're

      11          standing at the scene.        I can't explain it but the

      12          marks are clearly there.         And because of skid

      13          marks, I have considered this all being diesel fuel

      14          on the roadway.      I don't know if it was or not.

      15          I'm not sure if that's not water running out where

      16          they washed the truck but it does look --

      17          physically it makes no sense that that's diesel

      18          fuel because the truck simply would not have left

      19          skid marks on the left side if that was diesel fuel

      20          and the truck was on the diesel, it would have been

      21          like oil and it would have never left skid marks.

      22    Q     How fast would a -- go ahead.

      23    A     No, go ahead.

      24    Q     How fast would a tractor-trailer have to be moving

      25          to leave 538 feet of skid marks?
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                                                                          Page 75
       1    A     104 miles an hour and that's without an impact of
       2          pushing another truck.         Like I say, it's just not
       3          physically possible.        And at 104 miles per hour
       4          having struck Mr. Louis in the rear end, you would
       5          see a lot more damage.         Even if you were going 50,
       6          if you had a closing speed that great, I mean, it
       7          would be catastrophic.
       8    Q     I'm not sure we're going to be able to put up the
       9          next exhibit, a photograph of the trailer at the
      10          scene.
      11          (OFF THE RECORD FROM 3:50 P.M. UNTIL 4:09 P.M.)
      12                 (WHEREUPON, EXHIBIT 4, PHOTOGRAPH, CONSISTING
      13                 OF ONE PAGE, WAS MARKED FOR IDENTIFICATION.)
      14    Q     COURT REPORTER'S NOTE:         (This question was not
      15          recorded due to technical difficulties.)
      16    A     That would have been to the front of the truck.
      17          You're talking about when the two vehicles first
      18          touched, there's no damage there.            When you talk
      19          about point, you're talking about the first touch
      20          so there's no real way to tell you exactly what
      21          touched first, whether it would be the bumper to
      22          the rear of the device or whether it would be the
      23          grill to the back of the truck.           You'd have to get
      24          two vehicles just like that and put them together
      25          to tell you what first touched point.             The area of
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                                                                          Page 76
       1          the worst contact would be, without a doubt, the

       2          grill area of the truck to the rear of the trailer.

       3    Q     Where was the point of first impact on the roadway?

       4    A     There's no way to know.        It's before the gouges in

       5          the roadway.      The front wheel was fairly close to

       6          the post-collision skid mark that was on the road

       7          that could be scene but it was somewhat before

       8          that.    Again, you're talking about points versus

       9          areas and defining point when the two vehicles

      10          first touched, there's no physical evidence

      11          anywhere.

      12    Q     And you need physical evidence to define a point?

      13    A     To define a point, you could -- it would be almost

      14          impossible to define the exact point where these

      15          two vehicles first touched.         That's why we use, in

      16          the field of reconstruction, area of impact because

      17          the vehicles have to come together sufficiently

      18          enough to cause something to mark on the pavement

      19          to give you the general location of the vehicle

      20          when they hit.      And at that point, the point of

      21          impact can be several feet away, because both

      22          vehicles are moving and then they're crushing.

      23    Q     I think you testified a few minutes ago that after

      24          the area of impact, the two vehicles traveled 538

      25          feet; is that correct?
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                                                                          Page 77
       1    A     That is incorrect, they traveled 612 feet, 538-foot

       2          skid mark was recorded by the police.

       3    Q     How long did it take the two vehicles to come to a

       4          stop after the impact?

       5    A     Absolutely no way to know that.          Based on -- as I

       6          said earlier, based on the physical evidence, it's

       7          almost unbelievable -- it's almost as if the most

       8          logical thing is Mr. Jean-Louis kept pulling and

       9          pulled this truck, drug it up the highway.             That's

      10          why EMC data would be so important in this case.

      11          If that was the case, you would see him throttling

      12          up the truck and an engine -- the engine load of

      13          the truck going up, we simply don't have that data.

      14          There's no physical explanation for these two

      15          trucks to travel this far.

      16    Q     How much time elapsed from the time the two

      17          vehicles came to a stop until the Gonzalez vehicle

      18          burst into flames?

      19    A     We have no idea.       We know it was a period of time

      20          but there's no way to answer that.

      21    Q     Could five minutes have elapsed from the time the

      22          two vehicles came to a stop until the flames

      23          started?

      24    A     I don't know.      If we -- if we take -- if we take

      25          Mr. Jean-Louis testimony at face value, it was less
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 78 of 117 PageID #: 551



                                                                           Page 78
       1          than five minutes, because he said he sat there in

       2          the truck for five minutes and then looked in the

       3          back and looked in his mirror and saw smoke and got

       4          out.    So it would have been on fire within that

       5          time period but we really don't know.

       6    Q     At some point after the fire started, did the point

       7          logistics vehicle pull forward away from the

       8          burning truck?

       9    A     I don't know.

      10    Q     Is that something you could determine from physical

      11          evidence?

      12    A     They appear to be detached in the photographs but I

      13          really couldn't tell you if that happened after the

      14          -- after the trucks caught on fire or if it

      15          happened before.

      16    Q     Is it clear the Point Logistics truck did pull away

      17          after it came to a stop?

      18    A     If we could take the court reporter's picture down

      19          so I could look.

      20    Q     Sure.

      21    A     I don't think it's clear, Mr. Hickey, but it

      22          appears from the photograph that I'm looking at,

      23          the frame of the Gonzalez truck is still

      24          underneath.     Let me share this with you.         It

      25          appears that the frame of the Gonzalez truck is
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                                                                          Page 79
       1          still underneath the trailer there at final rest.

       2    Q     Do you know whether the Point Logistics truck

       3          engine was started again after final rest?

       4    A     I do not.

       5    Q     Could the Point Logistics truck engine had been

       6          started and run for 33 seconds after final rest?

       7    A     Could it have been; the Point Logistics?            Yes, it

       8          could.

       9    Q     Yes.    How long would it take a tractor-trailer to

      10          drive from the Love's Truck Stop at Exit 58, turn

      11          onto the entrance ramp, merge onto I-65 North and

      12          accelerate to 50 miles an hour?

      13    A     Can you see my screen?

      14    Q     Yes.

      15    A     The -- I don't know how long but right at the end

      16          of the ramp --

      17                 ATTORNEY SCOTT:      I'm still seeing the image of

      18          the burned-up truck.

      19                 ATTORNEY HICKEY:      Yeah, me too.

      20    A     Give me just a second.        According to the GPS data,

      21          3:58 he, Mr. Jean-Louis, was going 48.4, that's the

      22          fastest that he got, according to GPS data.             If we

      23          look, he's right at the end of the ramp when he did

      24          -- when he reached that speed and at that point, he

      25          started slowing down and pulled off on the
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                                                                          Page 80
       1          shoulder.     I didn't calculate a time.         I could go

       2          back and add that in.        What I did was check points

       3          on the data, such as the first zero was here at the

       4          stop bar.     That was -- driving stopped at 3:30 and

       5          was going zero miles an hour.          And he stopped at

       6          two locations at a Pilot station at 3:33 and then

       7          at 3:53.     He came through the stop sign here,

       8          getting on about 9.9 miles an hour.           I just kind of

       9          spot checked the data to see if it was matching up.

      10          And then the fastest point that I found was 48.4,

      11          that was right at the end of the ramp.            And then he

      12          got down to 28.6 and this pin actually has him

      13          moving to the shoulder.        Then he came -- then he

      14          came to a stop.      And the rest of these are what's

      15          in -- what's in the report.

      16    Q     My question is how long would it take him to go

      17          from the Love's Truck Stop parking lot, turn onto

      18          the entrance ramp, merge onto I-65 North and

      19          accelerate to 48 miles an hour.

      20    A     I don't have to -- I'll don't have to go back and

      21          look at the data itself and tell you.            I didn't --

      22          that's not something I calculated.

      23    Q     Didn't you have the times for each of those pings?

      24          Each of the yellow marks on your map?

      25    A     It's about a minute is what it's showing, yes, from
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                                                                          Page 81
       1          the area of the stop sign to where he got to 40.

       2    Q     How far would a tractor-trailer need to travel from

       3          an entrance ramp to get up to 48 miles an hour?

       4    A     That'd depend on the load.         This is a downhill

       5          grade, so it would all depend on the load.

       6    Q     Can you give me a range?

       7    A     No.   Every truck is different depending on how

       8          horsepower is set up, the gear ratio, the type of

       9          transmission that's in it, all that creates power,

      10          torque.    It all depends on how the truck is set up.

      11    Q     Is it fair to say you do not know how long it would

      12          take Mr. Jean-Louis to accelerate from that ramp up

      13          to 48 miles per hour.

      14    A     Based on the GPS data it took about a minute for

      15          him to do it but I don't know.

      16    Q     How far was my question, not how long.

      17    A     I would have to go back and measure.           I did not

      18          measure the distance.

      19    Q     After reaching 48 miles per hour, how far would a

      20          tractor-trailer go before it could be stopped in a

      21          controlled stop?

      22    A     At 48 miles an hour, you could stop the truck, if

      23          the brakes were working correctly, in about 128

      24          feet.

      25    Q     Is that an emergency stop or is that a controlled -
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                                                                          Page 82
       1          -

       2    A     That's an emergency stop.

       3    Q     How long would it be for a controlled routine stop?

       4    A     Say .4, about 192 feet, 200 feet.

       5    Q     How far past the end of the entrance ramp do you

       6          believe Mr. Jean-Louis pulled over and stopped on

       7          the shoulder before the collision?

       8    A     From the end of the entrance ramp?

       9    Q     Yes.

      10    A     It's about 719 feet.        It's approximately 719 feet

      11          from where he reached 48 miles an hour before he

      12          came -- wait, that's wrong.         It's approximately 864

      13          feet from where he came to a stop after reaching 48

      14          miles an hour.

      15    Q     My question is from the end of the entrance ramp,

      16          how far before he stopped before the accident, in

      17          your opinion?

      18    A     Can you see my screen?

      19    Q     Yes.

      20    A     All right.     The 48 miles an hour is at the end of

      21          the ramp, Mr. Hickey.        If you look at it, you can

      22          see the entrance ramp merging in here so where he

      23          came to final rest -- or came to a stop, the

      24          distance is 864.94 feet, thereabouts.            Again, it

      25          depends on how accurate, I'm putting this on this
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                                                                          Page 83
       1          pin to measure.

       2    Q     How far do you believe Mr. Jean-Louis traveled from

       3          that point where he stopped until the impact

       4          occurred?

       5    A     646 feet.

       6    Q     So if we add those two numbers, it's your opinion

       7          that the point of impact or the area of impact was

       8          about 1,510 feet; does that sound about right?

       9    A     Which two numbers?

      10    Q     From the end of the ramp to where you believe he

      11          pulled over and stopped and from there until the

      12          area of impact.      You said 864 from the end of the

      13          ramp and 646 from there to the area of impact.

      14    A     1,511.2.

      15    Q     So by your calculations, the area of impact was

      16          about 1,511.2 feet past the end of the ramp,

      17          correct?

      18    A     That is correct.

      19    Q     If Mr. Jean-Louis's electronic log says it took 2

      20          minutes and 17 seconds to get from being stopped at

      21          the truck stop to 50 miles per hour on the

      22          interstate, would you have any reason to disagree

      23          with that?

      24                ATTORNEY SCOTT:       I'm going to just note an

      25          objection to the form of the question.            I'm not
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                                                                          Page 84
       1          sure if you're talking about in general or specific

       2          time or place.

       3    A     I'm going to have to go back and look at it, Mr.

       4          Hickey, I'm not sure.

       5                ATTORNEY HICKEY:       Ms. Court Reporter, could

       6          you pull up the exhibit that says Driver's Daily

       7          Log, Bates No. 00019.

       8                (WHEREUPON, EXHIBIT 5, DRIVER'S DAILY LOG

       9                CONSISTING OF ONE PAGE, WAS MARKED FOR

      10                IDENTIFICATION.)

      11    Q     We'll call this Exhibit 5, Drivers Daily Log of

      12          December 27, 2018.       Have you seen that before?

      13    A     I have.

      14    Q     Did you rely on the information on the document

      15          reaching your opinions in this case?

      16    A     I did.

      17    Q     Do you agree that according to the data on that

      18          document, Mr. Jean-Louis was probably stopped in

      19          the Love's truck stop for 23 minutes and 26

      20          seconds?

      21    A     Approximately, yes.

      22    Q     Do you agree that Mr. Jean-Louis was probably

      23          driving from Love's truck stop to I-65 for 2

      24          minutes and 17 seconds?

      25    A     Possibly, yes.      I won't say --
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                                                                          Page 85
       1    Q     How can that not be true?

       2    A     Because he can be driving less than five miles an

       3          hour through the parking lot and it never switch to

       4          on-duty driving or driving time.

       5    Q     So at five miles per hour, it flips to driving,

       6          correct?

       7    A     It could be set less than that but at a maximum,

       8          according to the rule, it's five.

       9    Q     And do you agree that Mr. Jean-Louis was stopped

      10          for 5 minutes and 44 seconds after he entered I-65?

      11    A     Yes.    Thereabouts.

      12    Q     Do you agree that 5 minutes and 44 seconds after he

      13          stopped on I-65, Mr. Jean-Louis started his truck

      14          for another 33 seconds?

      15    A     It appears that way, yes.

      16    Q     Do you have any reason to doubt that?

      17    A     No.

      18    Q     Do you agree that after that 33 second event, Mr.

      19          Jean-Louis's truck was not driving again for more

      20          than 19 hours.

      21    A     Can we -- can we take this down?

      22    Q     Yeah.

      23    A     You're asking me questions and I can't see things

      24          and I don't like answering without looking.

      25    Q     After the 33 second off-duty personal conveyance
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                                                                          Page 86
       1          and that's where the truck is being moved, correct?

       2    A     That's correct.

       3    Q     Then after that 33 second movement, Mr. Jean-

       4          Louis's truck was not driven again for more than 19

       5          hours, correct?

       6    A     I believe that is correct.

       7    Q     Can we logically conclude that the 33 second

       8          movement occurred after the fire started?

       9    A     No.

      10    Q     Why not?

      11    A     That's where he pulled from the shoulder and was

      12          moving up the shoulder to the area of impact.

      13          That's -- that's actually -- the truck is actually

      14          moving at that point, that's not the engine.             There

      15          is a location on the logbook after he came to final

      16          rest that he started the engine.          But this is where

      17          he's actually moving up the shoulder slowly, into

      18          the lane.

      19    Q     And how far did he travel in that 33 seconds?

      20    A     About 646 feet.

      21    Q     Where in this 646 feet was the impact?

      22    A     Right at the end of the 646.

      23    Q     Did he travel again after that?

      24    A     Yes.    He traveled to final rest after that.

      25    Q     How far was that?
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                                                                          Page 87
       1    A     612 feet.

       2    Q     So a total of about 1,256 feet?

       3                WITNESS:     (To Court Reporter)       Can you take

       4          this down, ma'am?

       5    A     Yes, Mr. Hickey, about 1,256 feet.           And according

       6          to the odometer, it was about 1,267.2.            By the GPS

       7          and the measurements of the trooper, it was

       8          1,256.26.

       9    Q     And he did that at a dead stop in 33 seconds,

      10          correct?

      11    A     The 33 seconds was preimpact.          That was -- that was

      12          traveling from the stop to impact.

      13    Q     And how did the log record the area after the

      14          impact until he came to a stop on the side of the

      15          road 612 feet farther on?

      16    A     It did not record any speeds if the engine is shut

      17          off and it went zeros all the way up.

      18    Q     The engine shut off --

      19    A     I mean that's --

      20    Q     -- and it stopped recording then, correct?

      21    A     That's the way it looks.

      22    Q     And that would happen at the point of impact or

      23          after it pulled off the side of the road under

      24          control?

      25    A     No.   That would have happened somewhere near the
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                                                                          Page 88
       1          area of impact.      The truck doesn't move after it

       2          gets to final rest, at all.

       3    Q     And you know that how?

       4    A     Because the log stays the same.          The mileage on the

       5          log stays the same after he reaches zero at that

       6          last point, the mileage stays the same.

       7    Q     How do you know that the 5 minutes and 44 seconds

       8          he was stopped didn't occur after the collision?

       9    A     Because the GPS logs show where he was stopped at

      10          and then the log shows that he was driving after

      11          that and the mileage on the truck matches just

      12          within 11 feet of the GPS data.

      13    Q     Are you relying entirely on that GPS data to come

      14          to that conclusion?

      15    A     No.

      16    Q     What other data do you have other than the GPS data

      17          that indicates for 5 minutes and 44 seconds he was

      18          stopped occurred before the collision?

      19    A     The odometer readings that's recorded with the GPS

      20          data.

      21    Q     Anything else?

      22    A     That's just the -- that's a separate entity.

      23    Q     Is there any other data that you have other than

      24          the odometer and the GPS data that indicates --

      25    A     That's the only data that there is, that I've been
Case 1:19-cv-00027-HBB Document 61-8 Filed 02/04/21 Page 89 of 117 PageID #: 562



                                                                          Page 89
       1          provided.

       2    Q     What is the line of site in accident reconstruction

       3          and human factors analysis?

       4    A     The site of distance that you can see that's not

       5          obstructed.

       6    Q     How far away was Mr. Gonzalez from Mr. Jean-Louis's

       7          tractor-trailer when it would have been found

       8          visible for anyone who was alert and paying

       9          attention?

      10    A     Alert and visible, I said earlier we measured back

      11          3,400 feet, I'm not sure at night if the ramp

      12          itself and the bridge would not have been in that

      13          line of site but if it wasn't, then it -- 2,500

      14          feet or so, for sure.

      15    Q     How long would it take for a tractor-trailer to

      16          travel 2,500 feet at 62 miles an hour?

      17    A     About 27.4 seconds.

      18    Q     When someone's trailing in the right lane of an

      19          interstate highway, sees a vehicle stopped on the

      20          shoulder ahead, what's the safe thing to do?

      21    A     Move right if you can -- or I mean, move left if

      22          you can.

      23    Q     Anything else?

      24    A     Eventually slow down but if you're moving left

      25          there wouldn't really be no reason to -- if you're
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                                                                          Page 90
       1          moving left, there wouldn't really be no reason to

       2          slow down.

       3    Q     Are you aware of any evidence indicating Mr.

       4          Gonzalez moved to his left as he approached Mr.

       5          Jean-Louis's truck?

       6    A     No, sir.

       7    Q     Are you aware of any evidence indicating Mr.

       8          Gonzalez ever applied his brakes or reduced his

       9          speed before the collision?

      10    A     No, sir.

      11    Q     Was his cruise control set at 62 miles an hour at

      12          the time of impact?

      13    A     I don't know.

      14    Q     Are you familiar with the phrases "bullet vehicle"

      15          and "target vehicle"?

      16    A     I am.

      17    Q     What do they mean in the context of accident

      18          reconstruction?

      19    A     The bullet vehicle will be the one that was

      20          impacting.     The target vehicle would be what you're

      21          hitting.

      22    Q     In the August 27, 2018 collision on I-65, was Mr.

      23          Jean-Louis driving the target vehicle?

      24    A     He was driving the vehicle that was impacted, yes.

      25    Q     In the August 27, 2018 collision on I-65, was Mr.
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                                                                          Page 91
       1          Gonzalez driving the bullet vehicle?

       2    A     Bullet and target vehicle are terms that are used

       3          in crash testing, it's not relevant to what's going

       4          on here.     But yes, Mr. Gonzalez was driving the

       5          vehicle that impacted the read of Mr. Jean-Louis.

       6    Q     Did you use any computer software in reaching your

       7          conclusions in this case?

       8    A     Yes.

       9    Q     What programs did you use?

      10    A     Agisoft Photoscan, Trimble Forensics Reveal,

      11          Accident Reconstruction Pro 14.

      12    Q     Anything else?

      13    A     That's it.

      14    Q     You seen the police report from the Kentucky State

      15          Police Action Reconstruction Unit, correct?

      16    A     I have.

      17    Q     Is there anything on that report that you disagree

      18          with?

      19    A     Multiple things, it's stated in my report.

      20    Q     Off the top of your head, do you remember anything

      21          that you disagree with?

      22    A     There's multiple things, yes.          It's based on

      23          statement -- virtually on the statement of Mr.

      24          Jean-Louis, the trooper did not have the GPS data

      25          from the trucks when he -- I'm sorry, he did not
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                                                                          Page 92
       1          have the GPS data from Mr. Jean-Louis's truck when

       2          he wrote his report to consider.

       3    Q     Is there anything else the officer did not have?

       4    A     He did not have ECM data from either truck, to my

       5          knowledge would be the most important thing here in

       6          determining what happened was the GPS data itself.

       7    Q     Do you have ECM data from either truck?

       8    A     I do not.

       9    Q     What is your rate of compensation for investigation

      10          research and analysis?

      11    A     Depends on who's doing it.         If it's me, it's $150

      12          an hour, it goes down to $35 an hour depending on

      13          who's doing it in the office.

      14    Q     What's your rate of compensation for writing a

      15          report?

      16    A     I bill my time at $150 an hour regardless of what

      17          I'm doing.

      18    Q     Is that the same for depositions?

      19    A     No.   I have a flat fee of $1,000 for depositions.

      20    Q     What's your rate of compensation for court

      21          testimony?

      22    A     $150 an hour.

      23    Q     Thank you, sir.      I appreciate your patience with

      24          me.   Please make sure you get the exhibits to the

      25          court reporter as soon as you can.           That's all I
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                                                                          Page 93
       1          have.

       2                             CROSS EXAMINATION

       3    BY ATTORNEY HAMMOND:

       4    Q     Mr. Stidham, this is Mike Hammond.           I just have one

       5          more question for you.        Do you have cell phone

       6          records from either Mr. Gonzalez or Mrs. Gonzalez?

       7    A     I do not.     They've never been provided.

       8    Q     Have you requested those?

       9    A     That's something that was discussed with Mr. Scott

      10          but to date, I've never been provided those.

      11    Q     When did you discuss that with Mr. Scott?

      12    A     We've had a couple discussions about it at various

      13          times.    I don't recall.

      14    Q     Over a year ago?

      15    A     I have no idea.      I couldn't tell you that.

      16    Q     Over six months ago?

      17    A     I really couldn't tell you.         I am always working

      18          and doing things, I could not possibly tell you a

      19          date when we had those discussions.

      20    Q     Thank you, that's all I have.

      21                             CROSS EXAMINATION

      22    BY ATTORNEY SCOTT:

      23                ATTORNEY SCOTT:       Can we look at the driving

      24          log or the ELD?

      25    Q     So this is the logbook here.         I'm going to ask you
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                                                                          Page 94
       1          about the change in status between three, four and

       2          five.    Can you explain whether the vehicle can

       3          change from driving to off-duty while the vehicle

       4          is in motion?

       5    A     It cannot.

       6    Q     And so from three to four, driving off-duty, the

       7          vehicle has to be at a complete stop?

       8    A     Yes.    From driving to off-duty it has to be zero.

       9    Q     What condition to change from off-duty to off-duty

      10          personal conveyance?

      11    A     The driver has to do that inside the truck.

      12    Q     A manual change to do that?

      13    A     Yes.    Yes, it has to set -- he has to set the

      14          computer to do that.

      15    Q     It couldn't just happen automatically on its own.

      16    A     No.    Most of the ELDs when you stop will ask you if

      17          you want to go on-duty or off-duty when the vehicle

      18          stops.    Early on, KeepTruckin, when I had it, was

      19          about a minute before it would switch, it would

      20          come up and ask you.        Now, J.J. Keller is probably

      21          about 30 seconds after the vehicle stops, it asks

      22          you if you want to change your duty status.             But

      23          going to personal conveyance, that's something that

      24          you have to manually do on your device, whether

      25          it's a handheld or whether it's your phone or your
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                                                                          Page 95
       1          tablet.    You have to tell it go to into personal

       2          conveyance.     And in this case, when he put the log

       3          into personal conveyance, when he started moving,

       4          it did not log drive time and that's the purpose

       5          and if -- TSA will let you do that.           It's designed

       6          for cross-country truckers that go off-duty,

       7          they're in a parking lot somewhere, they want to go

       8          get something to eat, it'll allow them to go to

       9          personal conveyance and drive the truck somewhere

      10          to get something to eat or a store if they need

      11          something and then go back and it doesn't count

      12          against their hours of service because it's their

      13          only mode of transportation.

      14    Q     When they're in that personal conveyance mode, can

      15          they operate that truck in fervence of the motor

      16          carrier's business operations?

      17    A     They're in violation.        He should have been counting

      18          it as drive time but in this case, he couldn't

      19          because if he would have driven another minute, he

      20          would have been in violation of the eight-hour

      21          rule.

      22    Q     But not before 3:59:19, he would have been in

      23          violation of his hours in 41 more seconds; is that

      24          what you're saying?

      25    A     Yes.    He had to take a mandatory break within the
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                                                                          Page 96
       1          first eight hours, 30 consecutive minutes.

       2    Q     So next to the times there, for example, in number

       3          three where it's got 3:57:02 a.m. and then next to

       4          that we see the 2 minutes and 17 seconds.             I guess,

       5          that 2 minutes and 17 seconds is not added to that

       6          until there's a change in status, so at 4, it goes

       7          off-duty at that time because it does the math and

       8          inserts that 2 minutes and 17 seconds.

       9    A     I believe that is correct.

      10    Q     And so going from four to five, once he manually

      11          changed from off-duty to off-duty personal

      12          conveyance, it updated on that number four to say

      13          he'd been off-duty for 5 minutes and 44 seconds.

      14    A     That's correct.

      15    Q     There's a little icon next to, like, for number

      16          three there's a little emblem there next to where

      17          it says "driving."       And that emblem is also next to

      18          number five where it says "off-duty"; what does

      19          that little emblem mean?

      20    A     That indicates that the vehicle is in motion.

      21    Q     It's not there in number two, for example, where he

      22          was on-duty but he is on-duty doing vehicle

      23          inspection.

      24    A     That's correct.      He actually wasn't doing vehicle

      25          inspection, he testified that he went in and got
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                                                                          Page 97
       1          something to eat.       The statement to the trooper was

       2          he thought he was having a flat but his testimony

       3          was different.

       4    Q     When the condition of his duty status changes from

       5          number five to number six, it went off-duty at

       6          4:05:36 and then it added that 33 seconds of off-

       7          duty -- it added the time to item number five,

       8          right?

       9    A     Right.

      10    Q     Do we know whether in item number six, 4:05:36, do

      11          we know whether that happened at the moment of

      12          impact or once the vehicle came to final rest?

      13    A     In my estimation, that probably happened just at

      14          impact or shortly after.         Can we take the log down

      15          for just a second?

      16    Q     One more question on this log.          If we look at

      17          number five, is it your opinion that at 4:05 he was

      18          pulling out onto the highway and the semi-truck was

      19          in motion based on item number five?

      20    A     Yes.    That also matches the mileage data on the GPS

      21          log and the GPS coordinates.         There's multiple

      22          reasons I say that.

      23    Q     I know you read the testimony from Patrick Jean-

      24          Louis and Point Logistics safety manager, they both

      25          will not agree to the location of the truck being
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                                                                          Page 98
       1          stopped on the side of the road and pulling out at

       2          that time but let me ask you the question here:              Is

       3          there any personal conveyance reason that he would

       4          be operating the truck on the highway, that you can

       5          think of?

       6    A     No.    The evidence is that just before him pulling

       7          off, his app KeepTruckin, had alerted him that he

       8          was about to go over his hours.

       9    Q     Does it appear based on the logbooks and everything

      10          else you've discussed today and in your report,

      11          that at the time the impact occurred, that Jean

      12          Patrick Louis was driving the Point Logistics

      13          vehicle in violation of his hours of service?

      14    A     Could you restate that, please?

      15    Q     Do you believe that at the time of the impact, Jean

      16          Patrick Louis was in violation of his hours of

      17          service?     At the time of the impact.

      18    A     Yes.    He was also -- he was also in violation of

      19          duty status.      He should have had this time logged

      20          as driving time and not on -- not personal

      21          conveyance.

      22    Q     Is that because he had entered the highway -- he

      23          entered the highway he was acting in fervence of

      24          the motor carrier's interest, right?

      25    A     Yes.
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       1    Q     And item number five, when the vehicle was in
       2          motion, he is actually on the highway, is it also
       3          your opinion that he was acting in the motor
       4          carrier's interest even though he had marked
       5          personal conveyance on his logbook?
       6    A     That is correct.
       7    Q     And is it your opinion, then, that he was being
       8          deceptive about his activities on his logbooks?
       9    A     Yes.
      10    Q     And his statements that he gave to the Kentucky
      11          State Police are inconsistent with the data that
      12          you have reviewed in this case.
      13    A     Yes, sir.
      14    Q     That's all the questions I have.
      15
      16                 (WHEREUPON, THERE BEING NO FURTHER QUESTIONS,
      17                 THE DEPOSITION WAS CONCLUDED AT 4:46 P.M.)
      18                 FURTHER WITNESS SAITH NAUGHT.
      19
      20
      21
      22
      23
      24
      25
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                                                                         Page 100
        1                                CERTIFICATE

        2                       COMMONWEALTH OF KENTUCKY

        3                            COUNTY OF PULASKI

        4           Be it known that Susan Toby took the foregoing

        5    deposition of Joey Stidham and hereby attests:

        6          That I was then and there a notary public and

        7    professional court reporter in and for the Commonwealth

        8    of Kentucky-at-large,

        9          that the witness before me was sworn to testify the

      10     truth concerning the matter in controversy aforesaid;

      11           the foregoing transcript of 98 typewritten pages

      12     represents a true, accurate and complete transcription;

      13           that I am not related to any of the parties hereto,

      14     nor of any attorney or counsel employed by the parties

      15     hereto, nor interested in the outcome of this action.

      16           In witness thereof, I have hereunto set my hand and

      17     seal this 4th day of January 2021.

      18
      19     ________________________________

      20     Susan Toby

      21     Commission expires June 21, 2022

      22     Notary ID #603353

      23
      24
      25
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